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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF FLORIDA
                             PANAMA C1lY DIヽ 互SION


IN THE Ⅳ眈 TTER OF THE SEARCH
13414 Prosper Road                               Case No 5:20mJ63‐ MJF
Southport,FL 32409

                       AFFIDAVIT IN SUPPORT OF AN
                    APPLICATION UNDER RULE 41 FOR A
                      WARRANT TO SEARCH AND SEIZE

       I,Ot■ lio Rivera,depose and state under penalty of per3urァ as f01lows:



                 INTRODUCTION AND AGENT BACKGROUND

        1.     I make this affrdavit in support   of an application under RuIe 41 of the

Federal Rules of Criminal Procedure for a warrant to search the premises outlined

below and further described         in   Attachment A-20, for the thnngs described in

Attachment B.

        2.     I am a Task Force OfEcer with the Drug Enforcement Administration
('DEA) and have     been since March 6, 2018. Prior to being assigned with the DEA,

I   have been a police offrcer with the Savannah Police Department since January

2012.   I   have been assigned to the Chatham Savannah Counter Narcotics Team

('CNT") drug enfbrcement unit since September 11, 2016. During the course of my

law enforcement experience,     I   have participated   in numerous complex domestic
investigations involving drug trafficking organizations dealing in Amphetamine,
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Methamphetamine, Cocaine, Oxycodone, Hydrocodone, Hydromorphone, Marijuana,

and other controlled substances.    In   connection   with my of6cial duties as a Task
Force Offrcer with DEA, I have closely participated in federal wiretap investigations

that resulted in numerous arrests and seizures concerning drug trafficking and

money laundering.      I   have obtained and executed numerous search and arrest

warrants. I have received specialized training in the investigation of drug traffrcking

and drug organizations, including training in drug recognition and terminology,

undercover operations, interview techniques, frnanciaUmoney laundering

investigations, and the use of electronic surveillance. I am personally familiar with

and have used all normal methods of investigations, including but not limited to,

visual surveillance; electronic surveillance; informant, witness and               subject

interviews; and undercover operations.         In     addition to this training,   I   have

interviewed hundreds ofwitnesses to, and participants in, Iarge narcotics traffrcking

organizations who have described         to me the techniques that they and other
organization members used to import and distribute illegal drugs as well as to

transport, conceal, or launder the illegal drug proceeds.

      3.     I   am familiar with many of the traditional methods of investigation,

including, visual surveillance, electronic surveillance, informant and witness

interviews, consensually recorded telephone conversations, wiretap investigations,

defendant debriefrngs, the use of confrdential sources, undercover operations,
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execution of search warrants, the seizure of drug evidence, and controlled purchases

of drugs, among others.


      4.     Based upon training and experience,      I   am familiar with the ways in

which drug traffrckers conduct their business, including the various means and

methods by which drug traffrckers import and distribute drugs; use cellular

telephones, digital display paging devices, and calling cards        to facilitate drug
activity; and use numerical codes and coded language to conduct their transactions.

In my experience, drug traffrckers often obtain cellular       telephones   in   frctitious

names and/or the names    ofthird parties in an effort to conceal their drug trafficking

activities from law enforcement.    I   also am familiar with the ways   in which drug

traffrckers conceal, convert, transmit, and transport their drug proceeds, including,

without limitation, the use of couriers to transport currency and proceeds, the use of

third parties and nominees to purchase or to hold title to assets, the use ofelectronic

wires, and the use of offshore accounts.


      5.     I   also know from training and experience that drug traffrckers

periodically change or "drop" their telephones andl./or telephone numbers           in   an

attempt to avoid law enforcement interception oftheir conversations. Moreover,           it
is my      experience   that narcotics distributors purposefully use             multiple

communication devices (for example, cellular telephones) to keep law enforcement

from understandrng the fuII scope of their own and-/or their organization's illicit
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conduct, in the event that their communications are being intercepted.          I   also know

that drug traffrckers frequently use text messaging to communicate with other
traffrckers in an effort to thwart law enforcement interception of communications.


        6.   Based on my training and experience,        I   am also familiar with how

organized crime, such as Mexican cartels and Asian organized crime groups, conduct

their   businesses, including the various means and methods              of using multiple

business entities to wire illegal funds through legitimate businesses, and to engage

in   trade-based money laundering,       in an effort to hide illegal proceeds from
international drug trafficking, wildlife trafficking, and other crimes.

        7.    I   have participated   in investigations with other Special Agents and
investigators who have received specialized training in computer forensics and the

extraction and use of information from computers, cellular devices, wireless

providers, wireless networks, and storage devices.           I   have personally assisted

investigations where data extracted from electronic devices, such as computers and

cellular devices, have produced valuable information to aid prosecutions.

        8.   The information contained in this affrdavit is based on my own personal

knowledge of this case, as well as information relayed                to me by other     iaw

enforcement authorities and sources        of information. The facts related in this
affrdavit do not reflect the totality of information known to me or other offrcers,

merely the amount sufficient to establish probable cause.         I   do not rely upon facts
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not set forth herein in reaching my conclusion that a warrant should be issued, nor

do   I request that this Court rely upon any facts not set forth herein in reviewing this

affrdavit in support of the application for search warrant.

        9.     Unless otherwise noted, wherever      in this affrdavit I assert that   a

statement was made, the information was provided by another law enforcement

offrcer (who may have had either direct or hearsay knowledge of the statement) to

whom I have spoken or whose report I have read and reviewed. Such statements are

stated in substance, unless otherwise indicated. Wherever in this affidavit I state a

beliel that belief is based upon my training and experience and the information

obtained through this investigation. Based on the facts set forth in this affrdavit,

there is probable cause to believe that violations of Title 18 and Title 21 have been

committed by known and unknown conspirators. There is probable cause that the

information described in Attachment B will constitute evidence of the criminal

violations.

                                      OVERVIEW

         10.   Since 2015, the DEA, the Special Investigations      Unit of the United
States Fish and Wildlife Service (USFWS),        the   United States Postal Inspection

Service (USPIS), and Homeland Security Investigations (HSI), have been

investigating a transnational criminal organization (TCO) that            is   engaged in

international money laundering, drug traffrcking, wildlife trafficking, and other

crimes. Members of this TCO are Iocated throughout the United States and in
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Canada, Mexico, and Hong Kong. Members of this TCO are associated with Mexican

drug cartels and Asian organized crime.

      11.    Agents used a number of investigative techniques to identifu members

of this conspiracy and to identifu the manner and means of the operation. As

explained   in more detail below, agents interviewed    witnesses, used confrdential

sources, conducted a grand   jury investigation, reviewed email records obtained from

federal search warrants, conducted frnancial analysis of bank records, reviewed cell

phones searched    at the United States border and pursuant to federal        search

warrants, reviewed export permit applications and supporting documents for

transporting wildlife, reviewed business records, obtained shipping Iabels and postal

records, conducted multiple undercover operations, recorded criminal conversations,

obtained a federal consensual wire, conducted physical surveillance, and used other

investigative tools. In addition, undercover federal agents infrltrated this TCO and

assisted   with undercover operations. The undercover operations were conducted

over a period of several years and included controlled purchases of pounds of

marijuana, reverse money laundering transactions totaling one million dollars

United States currency, and controlled transactions regarding the               sale,

transportation and distribution of prohibited wildlife species.

      72.    Agents were able to determine that (1) Serendipity Business Solutions,

LLC, (2) Terry Xing Zhao Wu, (3) Natalie Ye Man Chan Wu, (4) Woonjin Lam,         (5)

Anthony Wu, (6) Billy Chen, (7) Ying Le Pang, (8) Phoenix Fisheries, LLC, (9) Mark
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Leon Harrison, (10) Heather Huong Ngoc Luu, (11) Lam Phuoc Quang, (12) Kevin

Chinh Nguyen, (13) Elias Samuel Castellanos, (14) Terry Louis Shook, and others,

were members and associates of the Wu TCO, whose members and associates

engaged in wire fraud, mail fraud, international wildlife traffrcking, drug traffrcking,

and money laundering, among other crimes, within the Southern District of Georgia,

Northern District of Georgia, Northern District of California, Central District of

California, Northern District of Florida, Eastern District of Michigan, Hong Kong,

Mexico, Canada, and elsewhere.

       13.   Agents determined that the purpose of the Wu TCO was to make money

from illegal activities, including wildlife trafficking and drug traffrcking. Agents

further determined that the Wu TCO sought to hide millions of dollars in illegal

proceeds by laundering money through businesses and bank accounts.

       74. Agents determined the manner and means of this                   conspiracy.

Essentially, one or more members of the conspiracy would (1) avoid international,

federal, and state wildlife traffrcking laws to make money and meet the demand for

shark frns and sea cucumbers in the Asian market; @) create and submit false

applications for import/export licenses to United States Fish and Wildlife Services to

appear legitimate while conducting business regulated by international, federal, and

state wildlife trafficking laws; (c) unlawfully smuggle shark frns from Mexico to

ultimately be exported to Hong Kong; (d) hide an unlawful shark frn business in

California by creating fake invoices and paperwork to make it appear that a Florida
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business was invoicing, financing, and controlling the shark fin business; (e) wire

illegal profits from the shark frn business to third party business accounts to hide

the illegal profits; (i) make money by distributing marijuana in violation of federal

law; (g) require bulk cash be mailed to California for advanced payment of marijuana;

(r) require wire transfers of money to bank        accounts for advanced payment of

marijuana; (i) mail marijuana from California to Savannah, Georgra; O hide illegal

drug proceeds as purported seafood transactions; (k) wire illegal drug proceeds to

third party business accounts to hide the illegal profits; (I) charge a commission     fee

for unlawfully depositing millions of dollars of illegal profrts into business accounts

to hide the illegal profits; (m) deposit bulk cash from drug traffrcking, into third party

business accounts that dealt in gold, precious metals, and jewels to hide the illegal

profits; and (n) unlawfully deposit millions ofdollars from illegal activities into third

party business accounts located in the United States, Mexico, and Hong Kong, all to

hide the illegal profrts.

       15.    On July 8, 2020, a federal grand jury presiding in the Southern District

of Georgia returned a sealed indictment charging the following defendants for       their

role in this conspiracy to engage in wire and mail fraud, drug traffrcking, and money

laundering: (1) Serendipity Business Solutions, LLC; (2) Terry Xing Zhao Wu; (3)

Natalie Ye Man Chan Wu; (4) Woonjin Lam; (5) Anthony Wu; (6) BiIIy Chen; (7) Ying

Le Pang; (8) Phoenix Fisheries, LLC; (9) Mark Leon Harrison; (10) Heather Huong

Ngoc Luu; (11) Lam Phuoc Quang; (12) Kevin Chinh Nguyen; (13) Elias Samue1
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Castellanos; and (14) Terry Louis Shook. This indictment will remain sealed       until

the defendants are arrested, or until further order of the court.


         THE WU TRANSNAT10NAL CRIMINAL ORGANIZAT10N

      16.    Defendant Serendipity Business Solutions, LLC          is a     California

company that engages     in international wildlife traffrcking, drug traffrcking,   and

money laundering.

      17.    Defendant Terry Xing Zhao Wu           is the   operator   of   Defendant

Serendiprty Business Solutions, LLC and responsible for ordering when to export

shark frns and authorizing payments for shark fins and sea cucumbers. Defendant

Terry Xing Zhao Wu also handles the sale of shark fins to conspirators in Hong Kong.

      18.    Defendant Natalie Ye Man Chan Wu           is the registered agent and
manager of Defendant Serendipity Business Solutions,     LLC. Defendant Natalie     Ye

Man Chan Wu is responsible for conducting frnancial transactions and signing

checks for payment of shark fins.

      19.    Defendant Woonjin Lam is an associate of Defendant Terry Xing Zhao

Wu and involved in the distribution of marijuana and money laundering. Woonjin

Lam is was responsible for coordinating and conducting drug transactions.

      20.    Defendant Anthony Wu is an associate of Defendant Woonjin Lam and

involved in money laundering.
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      2I.    Defendant Billy Chen is an associate of Defendant Terry Xing Zhao Wu

and involved in international wildlife trafficking.

      22.    Defendant Ying Le Pang is an associate of Defendant Woonjin Lam and

involved in the distribution of marij uana. Defendant Ying Le Pang assists Defendant

Woonjin Lam in drug transactions.

       23.   Defendant Phoenix Fisheries, LLC, is a Florida company that engaged

in rnternational wildlife trafficking and money laundering.

      24.    Defendant Mark Leon Harrison is the owner, incorporator, registered

agent, and manager of Defendant Phoenix Fisheries,      LLC. Defendant Mark      Leon

Harrison is responsible for preparing false and misleading commercial invoices and

export documents for shark frns for Defendant Phoenix Fisheries, LLC. Defendant

Mark Leon Harrison is an associate of Defendant Terry Xing Zhao Wu, and involved

in international wildlife traffrcking.

       25.    Defendant Heather Huong Ngoc Luu is an associate of Defendants

Terry Xing Zhao Wu, Woonjin Lam, Lam Phuoc Quang, Kevin Chinh Nguyen, Elias

Samuel Castellanos, and Terry Louis Shook, and involved in money laundering and

drug traffrcking. Defendant Heather Huong Ngoc Luu                is   responsible for

transporting bulk cash from illegal proceeds and wiring the illegal proceeds to third

party business bank accounts to hide millions of dollars in illegal proceeds.

       26.    Defendant Lam Phuoc Quang is an associate of Defendants Terry Xing

Zhao Wu, Woonjin Lam, Heather Huong Ngoc Luu, Kevin Chinh Nguyen, and Elias

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Samuel Castellanos, and involved       in   money Iaundering and drug traffrcking.

Defendant Lam Phuoc Quang is responsible for transporting bulk cash from illegal

proceeds to be wired to third party business bank accounts to hide millions of dollars

in illegal proceeds.

       27.     Defendant Kevin Chinh Nguyen is an associate of Defendants Heather

Huong Ngoc Luu and Lam Phuoc Quang and involved in money laundering and drug

traffrcking. Defendant Kevin Chinh Nguyen is responsible for transporting bulk

cash used in money laundering.

       28.     Defendant Elias Samuel Castellanos is an associate of Defendants

Heather Huong Ngoc Luu, Lam Phuoc Quang, and involved in money laundering

and drug traffrcking. Defendant Elias Samuel Castellanos is responsible for

transporting bulk cash from illegal proceeds.

       29.     Defendant Terry Louis Shook is an associate of Defendants Heather

Huong Ngoc Luu and Lam Phuoc Quang and involved in money laundering and drug

trafficking.

       30. I make this affrdavit rn support of an application       for search warrants

concerning violations of conspiracy to commit wire and mail fraud         in violation of
Title 18, United States Code, Section        1,349;   (2) drug traffrcking conspiracy in

violation of Title 21, United States Code, Section 846; and (3) money laundering

conspiracy in violation of Title 18, United States Code, Section 1956(h), hereinafter

collectively referred to as the "Target Offenses."

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                                  TARGET LOCATIONS

       31.       Based on my training and experience and this entire investigation,      I
believe there is probable cause that evidence of some or all of the Target Offenses

will be found at the following locations, which includes the premises location,
hereinafter collectively referred to as the "Target Locations," and individually

described as follows:


                    1340 Skyview Drive, Burlingame, California 94010, hereinafter

referred to individually as "Target Location 1" and described           in more detail in
Attachment A-1. Target Location       1   is the residence of Terry and Natalie Wu. Target

Location 1 is also one of the business addresses listed with the California Secretary

of State for Serendipity Business Solutions, LLC.


           ii.      715   El   Camino Real, Suite 201, San Bruno, California 94066,

hereinafter referred to individually as "Target Location 2" and described in more

detail in Attachment A-2. Target Location 2 isone ofthe business address listed with

the California Secretary of State for Serendipity Business Solutions, LLC.


          iii.      715   El   Camino ReaI, Suite 202, San Bruno, California 94066,

hereinafter referred to individually as "Target Location 3" and described in more

detail in Attachment A-3. Target Location 3 is one of the business addresses listed

with the California Secretary ofState for Serendipity Business Solutions, LLC.
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           iv.    167 Gaven Street, San Francisco, California 94134, hereinafter

referred to individually as "Target Location 4" and described         in more detail in
Attachment A-4. Target Location 4 is the residence of Woonjin Lam. Target Location

4 is also the business addresses listed   with the Florida Secretary of State for Woonjin

Lam.


            v.    182 Gaven Street, San Francisco, California 94134, hereinafter

referred to individually as "Target Location 5" and described         in   more detail in

Attachment A-5. Target Location 5 is a residential address associated with Woonjin

Lam.


           vi.    18002   Via Arroyo, San Lorenzo, California 94580, hereinafter
referred to individually as "Target Location 6" and described         in more detail in
Attachment .4.-6. Target Location 6 is the residential address of Ying Le Pang.


          vii.    610 E. 10th Street, Oakland, California 94606, hereinafter referred

to individually as "Target Location 7" and described in more detail in Attachment A-

7.   Target Location 7 is a warehouse used by the Wu TCO to store and cultivate

marijuana for distribution.

          viii.   1622   l2th Street, Oakland, California    94607, hereinafber referred

to individually as "Target Location 8" and described in more detail in Attachment A-

8. Target Location 8 is a warehouse used by the Wu TCO to store and cultivate

marijuana for distribut ion.
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            ix.    1285 47th Avenue, Oakland, California 94601, hereinafter referred

to individually as "Target Location 9" and described in more detail in Attachment A-

9.   Target Location 9 is a warehouse used by the Wu TCO to store and cultivate

marijuana for distribution.

             x.    1493 Fairlance Dr., Walnut, California 91789, hereinafter referred

to individually as "Target Location 10" and described in more detail in Attachment

A-10. Target Location 10 is the residence of BiIIy Chen. Target Location is also        a

business address listed with the California Secretary of State for QBC International,

Inc.   QBC International, Inc. is a California corporation engaged   in international

wildlife traffrcking and money laundering.

            xi.    QBC International Inc., 9721 Alpaca Street, South EI Monte,

California 91733, hereinafter referred to individually as "Target Location 11" and

described   in more detail in Attachment A-11. Target Location       11   is one of   the

business addresses listed on importation paperwork for sea cucumbers, on an Import

Export License issued by the USFWS, and is used by QBC International Inc. and the

WU TCO to facilitate wildlife trafficking and money laundering.


            xii.   13668 Eastbridge Street, Westminster, California             92683,

hereinafter referred to individually as "Target Location 12" and described in more

detail in Attachment A-12. Target Location 12 is a residence ofHeather Luu. Target



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Location 12 is also the address listed for multiple business entities used by Heather

Luu and the Wu TCO for trade-based money laundering.

         Xlll     Jeans Jewelry, Inc., 9200 Bolsa Avenue, Suite 114C, Westminster,

California 92683, hereinafter referred to individually as "Target Location 13" and

described in more detail in Attachment A-13. Target Location 13 is   a   jewelrybusiness

used by Heather Luu and the Wu TCO for trade-based money laundering.


         xiv.     Ohansons,   LLC 607 S. HrIl Street, Suite 520, Los              Angeles,

California 90014, hereinafter referred to individually as "Target Location 14" and

described   in more detail in Attachment A-14. Target Location 14 is one of the
business addresses connected to bank accounts used by the Wu TCO for trade-based

money laundering.


            xv.   Ohansons,   LLC 607 S. HllI Street, Suite 915, Los              Angeles,

California 90014, hereinafter referred to individually as "Target Location 15" and

described   in more detail in Attachment A-15. Target Location           15   is one of   the

business addresses connected to bank accounts used by the Wu TCO for trade-based

money laundering.


         xvi.     160 Taggart Run N$r, Lawrenceville, Georgia 30044, hereinafter

referred to individually as "Target Location 16" and described       in more detail in
Attachment A-16. Target Location 16 is a residence connected to Heather Luu and

Lam Phuoc Quang.
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         xvii.    5296 Rails Way, Norcross, Georgia 30071, hereinafter referred to

individually as "Target Location 17" and described in more detail in Attachment A-

17. Target Location 17 is a residence   connected to Heather Luu and Lam Phuoc

Quang.


         xviii.   1205 Devonshire Road, Grosse Pointe Park, Michigar 48230,

hereinafter referred to individually as "Target Location 18" and described in more

detail in Attachment A-18. Target Location 18 is the residence of Terry Louis Shook.


          xix.    13408 Prosper Road, Southport, Florida 32409, hereinafter

referred to individually as "Target Location 19" and described in more detail in

Attachment A- 19. Target Location 19 is the business address listed with the Florida

Secretary of State for Phoenix Fisheries, LLC.


                  13414 Prosper Rd., Southport, Florida 32409, hereinafter referred

to individually as "Target Location 20" and described in more detail in Attachment

A-20. Target Location 20 is one ofthe business addresses associated with Serendipity

Business Solutions, LLC and Phoenix Fisheries, LLC.


          xxi.    Greg Abrams Seafood, Inc., 234 East Beach Drive, Panama City,

Florida 32401, hereina{ter referred to individually as "Target Location 21" and

described   in more detail in Attachment A-21. Target Location   21 is the business

address of Greg Abrams Seafood, Inc., a Florida corporation engaged in the seafood



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business. Greg Abrams Seafood, Inc. is a shark frn dealer and the business is used to

assist the WU TCO in traffrcking shark fins and sea cucumbers.


        XXll        Phillips Seafood, Inc., 1418 Sapelo Ave NE, Townsend, Georgia

31331, hereinafter referred to individually as "Target Location 22" ard described   in

more detail    in Attachment A-22. Taryet Location 22 is the business address for
Phillips Seafood, a Georgia corporation engaged in the seafood business. Phillips

Seafood, Inc. is a shark fin dealer and supplies shark fins to the Wu TCO.


       32.     Attachments A-1 through A-22 are incorporated by reference as if fully

set forth herein.


                                PROBABLE CAUSE

                    Background Information on Shark Finning

       33.      Sharks are an apex predator and maintain an essential role in earth's

marine ecosystem. Sharks are protected wildlife under federal and state law to

ensure their continued sustainability.


       34.      Shark frnning is the practice of removing and retaining shark fins at

sea while the remainder of the   living shark is commonly discarded and left to die in

the ocean. Shark frnning is aimed at supporting the demand for shark frn soup, an

Asian delicacy. Federal law and applicable state law prohibit shark frnning at sea.



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See 18 U.S.C. S 1857(1XP), Ca. Fish and Game Code $ 2021, and FIa. Stat. Ann.

s 379.2426.


      35.     A landed shark is a harvested shark that has been brought to shore.

There is very little frnancial incentive for commercial shark fishermen to land whole

sharks because the price per pound of shark meat is signifrcantly lower than the

price per pound of shark fins.


      36.     The Lacey Act, a federal frsh and wildlife traffrcking law, makes it

unlawful for a person to make or submit a false record, account or identifrcation of

wildlife that has been or is intended to be transported in interstate or foreign

commerce. 16 U.S.C.   S   3372(d).


      37.     Effective January 1, 2013, rt was unlawful to seII, possess, trade or

distribute shark frns in or from California. Ca. Fish and Game Code $ 2021.

However, at all times material to this affrdavit, Florida law allowed state licensed

dealers to buy and sell saltwater products, including shark fins, so Iong as the

licensed dealer reported the landing as required by Florida law and harvested or

Ianded the entire shark. Fla. Stat. Ann. $ 370.07. Although a Iicensed dealer could

buy and sell shark frns, Florida law required that all sharks must be retained in

whole condition with heads, tails, and frns attached until Ianded and specifically

prohibited the practice ofshark frnning. FIa. Stat. Ann. $ 379.2426.



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      38.        Thus, after January 1, 2013, licensed dealers    in   Florida, but not

California, could seII, possess, trade or distribute shark frns provided the dealer

properly harvested the entire shark and accurately recorded, accounted, and

identified all shark frns shipped in interstate or foreign commerce to ensure the

harvesting, shipping, and transportation of the protected wildlife complied with

federal and state law.


                 Background on CITES Import and Export Permits

      39.        The United States is a party to the Convention on International Trade

of Endangered Species of Fauna and Flora (CITES) international agreement. CITES

regulates the international trade and transport of species that are threatened with

extinction (Appendix I), species that are not currently threatened with extinction,

but would become so absent regulation (Appendix II), and species for which               a

member country requests assistance in controlling trade (Appendix        III). There   are

currently ten species of sharks listed in the CITES Appendixes, specifrcally CITES

Appendix   II.   The Scalloped hammerhead, the Great hammerhead, and the Smooth

hammerhead are among the ten listed species. A CITES Import/Export Permit is

required to import or export sharks listed in CITES Appendix II based on the origin

of the specimens. AII applications made to the USFWS for a CITES Import/Export

Permit require supporting documentation to sustain a non-detrimental finding on

populations of sharks for the species to be imported or exported. Section D-3 of the


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application requires the applicant to certify the information submitted                     in   the

application    is   complete and accurate. Further, Section D-3 states any false

statement may subject the applicant to penalties of Title 18, United States Code,

Section, 1001. There        is a significant regulatory structure in the United             States

overseeing     the balance between recreational and commercial shark frshing
industries and shark conservation. For example, federal regulations make                          it
unlawful to retain, possess, sell or purchase a federally protected shark, or parts or

pieces   thereof    50 C.F.R.   S   635.71(d) (10). Federal regulations also require that only

dealers that have a valid permit for sharks may purchase a shark from the owner or

operator of a frshing vessel. 50 C.F.R.               S   635.31. Among other things, federal law

requires exporters of CITES Appendix             II   specimens to present proof of Iandings from

the frshermen when applying for a CITES permit and invoices for the purchase of

shark frns from the permitted dealer. Additionally, when protected wildlife, for

rnstance CITES Appendix              II   specimens,       is exported or transported in interstate

commerce, the law requires the items to be labeled                 truthfully.

         Background Information on Trade-Based Money Laundering

         40.   Trade-based money Iaundering generally involves the exploitation of

the international trade system for the purpose of transferring value and hiding the

true origins of wealth. TCOs engaged in trade-based money laundering disguise



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proceeds of criminal activity, such as drug trafficking and wildlife traffrcking, and

move value through trade transactions to       try and legitimize the criminal   proceeds.


          41.    Trade-based money laundering includes the misrepresentation of the

price, quantity, or quality of imports or export. The basic techniques oftrade-based

money laundering include invoicing products above or below market value, providing

multiple invoices for the same transaction, misstating the quantity of products

exported or imported, and falsely describing products exported or imported.


         42.     TCOs, including the Wu TCO, use various combinations of the basic

techniques of trade-based money laundering in a scheme to hide drug and unlawful

wildlife traffrcking proceeds.

                        TARGET LOCATIONS l‑3 AND 19‑20
         43     Based on this entire investigation and my training and experience,I

believe theヽ Vu TCO uses Target Locations l‑3 and Target Locations 19 and 20 in

furtherance ofits unla、 vful wildlife trafflcking and money laundering business

          44.    Target Location   1is Terry and Natalie     Wu's residence and also         a

business address for Serendipity Business Solutions,       LLC. Target Location 2 and
Target Location 3 are business suites located next to each other in a commercial

offrce   building. The Wu TCO uses Target Locations 1-3 as addresses for Serendipity

Business Solutions on bank records associated with accounts used to Iaunder money.
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The Wu TCO also uses Target Locations 1-3 as business addresses on shipping

records for its unlawful shark fin and sea cucumber business.

      45.    Target Location 19 is Mark Harrison's residence and         is also the
business address for Phoenix Fisheries. Target Location 19 includes a residence and

shipping containers that Mark Harrison uses to dry and store shark frn inventory

and sea cucumbers. Target Location 20 is land adjacent to Target Location 19.

Target Location 20 has outbuildings, shipping containers, and tractor trailers and

Mark Harrison uses Target Location 20 to store shark frn and sea cucumber

inventory.

 Mark Harrison's Prior Conviction for Unlawfully Dealing in Shark Fins
      46. In 2005, the USFWS           previously investigated Mark Harrison and his

former company, Harrison International, LLC, which resulted             in a    federal

conviction. The investigation revealed that Harrison represented himself to be the

nation's largest shark fin buyer, purchasing "millions" of shark fins since he had

been in the business, beginning   in   1989. Harrison purchased shark fins   in Florida

from individual fishermen and later resold them in interstate commerce and foreign

commerce. No report of the landing or sale of those frns was frled   with any Florida

authorities, as required by   law. At that time, Mark Harrison lived at Target
Location 19 and operated Harrison International, LLC from Target Location 19.

      47. During the course of the 2005 investigation of Harrison, agents
confirmed that Harrison was shipping large quantities of shark fins to California
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and Hong Kong. Harrison facilitated the export of shark frns from Florida to

California and from Florida to Hong Kong. Shipping documents obtained during the

investigation revealed Harrison sold and exported shark frns exclusively to an

import and export company by the name of Wonkow International located in San

Francisco, California and Hong Kong. Wonkow International was owned by Allen

Leung.

         48.   Allen Leung also owned Mark Harrison's residence, Target Location 19

and Target Location 20, Iand adjacent to Target Location 19.

         49.   Allen Leung was a leader ofthe Ghee Kung Tong Brotherhoods, a/k/a

"Tongs," an Asian organized criminal organization, and ran the import-export

busrness. Allen Leung was alleged to have laundered drug traffrcking proceeds

through a shark fin business.

         50. In 2006, Allen Leung was murdered at the San Francisco         busrness

Iocation for Wonkow International, 603 Jackson Street, San Francisco, California.

Kwok Cheung Chow, a/k/a "Raymond Chow," a/k/a "Shrimp Boy," a member of the

Triad criminal organization, was eventually charged and convicted of arranging the

murder of Allen Leung in U.S. District Court for the Northern District of California.

See (Jnited States u. Kwoh Cheung Choro, No. 3:14CR00196-CRB, 2015 WL 5094744

(N.D. Cal. 2015). Chow is serving a life sentence.

         51.   The 603 Jackson Street address in San Francisco where Allen Leung

was murdered, was the same address where Mark Harrison shipped the shark fins

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to in San Francisco during the 2005 investigation. A search of 603 Jackson Street

revealed a stockpile of shark fins in the basement stacked floor to ceiling.

       52.   After Allen Leungs murder, Harrison continued to send shark fins to

San Francisco and Hong Kong until January 2007, when the 2005 investigation into

Harrison's activity turned overt.

      53.    On June 12,   2OO9,    Mark Harrison and Harrison International, LLC,

pleaded guilty in U.S. District Court for the Northern District of Georgia to violating

the Lacey Act, by unlawfully dealing in shark frns, the landing of which was not

reported as required by law. In addition, Harrison pleaded guilty to a second charge

related to his attempted export of shark frns ofspecies that are prohibited to harvest

under the Iaws of the state of Florida. Specifically, Harrison pleaded guilty to

attempting to export through Atlanta a shipment of shark frns that included

hundreds ofshark frns from sharks that were protected under Florida and/or federal

law due to the low population levels of the shark species. Harrison also pleaded

guilty to a third charge related to trading in shark frns that had been prepared,

packed or held under unsanitary conditions.

                           The Current Investigation

       54. In    2015, USFWS agents again recerved information that Mark

Harrison was again involved in the unlawful traffrcking of shark frns with Asian

organized crime and began this current investigation.




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      55.       As part of this current investigation, agents opened      undercover

business   in   Savannah, Georgia and they have been operating in         undercover

capacity as an international seafood logistics company. In an undercover capacity,

agents have identifred a number of conspirators who have lied on federal paperwork

related to the export of shark fins; and who appear to be involved       in a global
conspiracy. Agents reviewed a number offinancial and property records and Iearned

that Mark Harrison is still living at the same residence at 13408 Prosper Drive,

Southport, Florida, Target Location 19. Target Location 19 and Target Location 20,

were both previously owned by deceased Allen Leung, and are now owned by

Serendipity Business Solutions, a company owned by Terry Wu, Iocated in California

and operating out of Target Location 1, Target Location 2 and Target Location      3.


Agents were able to determine that Terry Wu is the son of Kwong Fat Ng, owner of

Shun Fat Seafood Product Trading Company in Hong Kong and previous business

partner to Allen Leung.

      56.       Based on my training and experience and this entire investigation,   I
believe that Terry Wu and his conspirators launder money for a number of criminal

organizations, including Asian organized crime and Mexican cartels as outlined

below in more     detail. I further believe that Terry Wu took over the business from

Allen Leung after his murder. I further believe that Mark Harrison is conducting

illegal trafficking at Target Locations 19 and 20 at the direction of Terry Wu and

Serendipity Business Solutions operating out of Target Locations 1-3 and supplying

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shark frns to Shun Fat Seafood Products Trading Company in Hong Kong rn

violation of California and federal law.

       Mark Harrison Opens a New Shark Fin Business for the Wu TCO

        57.    In 2011, the State of California enacted legislation that prohibited the

sale, possession, trade or distribution of shark fins   in California. The California
prohibition took effect on January 1, 2013. Ca. Fish and Game Code $ 2021.


        58. In June 2013, Harrison incorporated a business in Florida           named

Panhandle Chili Ribbons, and later renamed that business Phoenix Fisheries, LLC

("Phoenix Fisheries")    in   February 2014. Phoenix Fisheries is engaged in the

exportation of shark frns. Phoenix Fisheries operates out ofTarget Locations 19 and

20   in Florida and uses Target Locations 19, 20 and for the exportation of shark frns.

        59.    On September 8, 2OI4, a USFWS Wildlife Inspector stationed at the

Port of Atlanta received an email correspondence from freight forwarder Aries

GIobaI Logistics located in Hapeville, Georgia that their customer, Iater identifred

as   Mark Harrison / Phoenix Fisheries (Target Location 19), sought to export Great

and Scalloped Hammerhead shark fins through the Port of Atlanta. Aries Global

Logistics was seeking clarifrcation concerning the proper documentation and

required permits by the USFWS to export the Great and Scalloped Hammerhead

shark frns from the Port ofAtlanta.




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         60. As part of the USFWS           investigation into Harrison and Phoenix

Fisheries, USFWS investigators examined property records for Target Locations 19

and   20.   Property records revealed that Harrison's residence       in Florida,   Target

Location 19, is owned by Serendipity Business Solutions, LLC, a California limited

Iiability corporation. Serendipity Business Solutions also owns Target Location 20,

which is adjacent to Target Location 19. Target Location 20 is used to store, dry,

and ship inventory prior to export. As part of this investigation, agents searched

Terry Wu's cell phone pursuant to   a   border search, which was followed with a federal

search   warrant. A review of Terry Wu's ceII phone showed pictures and WhatsApp

communication regarding wildlife inventories occasionally stored in Target Location

20.

         61.   Serendipity Business Solutions purchased Target Location 19 and

Target Location 20 from Jenny Leung (AIIen Leung's widow) on October 26, 2015,

just two days after Harrison submitted an application to acquire a CITES Export

Permit Application for Phoenix Fisheries to export shark frns.

         62.   According to California Corporate records, Serendipity is a "business

consulting and trading" company, wrth a business address of 1340 Skyview Drive,

Burlingame, California, Target Location          1.   Serendipity Business Solutions was

registered on June 4,2013, just two weeks before Phoenix Fisheries was origrnally

registered in Florida. The registered agent for Serendipity is identified as Natalie

Wu. Natalie Wu is married to Terry Wu, and property records reveal that the Wus

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reside at 1340 Sky'view Drive, Burlingame, California, Target Location     1.   Target

Location 2 and Target Location 3 are also business address Iisted with the California

Secretary of State for Serendipity Business Solutions,   LLC. On the 2013 articles of

organization, Natalie Wu with an address of Target Location 1, is identified as the

agent who will accept service ofprocess for Serendipity Business Solutions, LLC. In

2OI7, Target Location 1 is again listed as the address for Serendipity Business

Solutions, LLC in the statement of information frled with the California Secretary of

State. In 2019, Target Location 2 and Target Location 3 are both listed as address

for Serendipity Business Solutions LLC in the statement of information frled with

the California Secretary of State. Natalie Wu remained the Iisted manager, owner,

and service ofprocess for Serendipity Busrness Solutions, LLC.

      63.     USFWS investigators obtained frnancial records for Serendipity to

further examine the connection between Serendipity and Harrison. A review of

those frnancial records for the time period of November 23, 2073, through January

31,, 2020, showed   that Shun Fat of Hong Kong wired approximately $7,000,000 into

the Serendrpity JP Morgan Chase bank account, ending in 5225. The addresses

associated   with this Serendipity bank account is Target Location 1 and 2. During

that same time period, the frnancial records showed substantial payments            to

Harrison     by   Serendipity, totaling over $900,000. Through these frnancial

transactions, the WU TCO purchased shark frns            in a manner to conceal the
ownership, to control the property and proceeds, and to defraud others.

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       Materially false invoices/sales receipts submitted by Harrison

       64.      The following table represents invoices submitted by Mark Harrison as

part of the CITES Export Permit Application for Phoenix Fisheries. The invoices

are purported to be records ofpurchase of shark fins by Phoenix Fisheries with an

address of Target Location      19. Based upon a review of frnancial records, none of

these invoices were actually paid by Phoenix Fisheries; rather, aII of the invoices

were actually paid for by Serendipity Business Solutions with an address of Target

Location   1:


DATE                    CHECK/WIRE              AMOUNT           SHARK
                                                                 DEALER
04/15/2015              Vire
                        ヽ                       S4,167           Kinqs Seafood
04/18/2015              Check#1201              s9,597           Safe Harbor
                                                                 Seafood
05/07/2015              Vire
                        ヽ                       $7,612           Safe Harbor
                                                                 Seafood
05/19/2015              Wire                    $8,393           Safe Harbor
                                                                 Seafood
05/19/2015              Wire                    $12,431          Kings Seafood
08/03/2015              ヽVire                   $4,37825         Kines Seafood
08/07/2015              ヽVire                   $7,913           Kings Seafood
08/07/2015              Wire                    $14,71550        Safe Harbor
                                                                 Seafood
08/25/2015              Check#1209              $2,471           Dav Boat Seafood
08/25/2015              Check#1207              $6,337           Phillips Seafood
08/27/2015              Wire                    $9,733           Kings Seafood
09/22/2015              Wire                    $8,38150         Kings Seafood
09/22/2015              Wire                    $1,497           Kings Seafood
09/30/2015              Wire                    Sl,074           Kings Seafood
09/30/2015              Wire                    $3,553           Kjngs Seafood




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      65.    In the CITES Export Permit Application, Harrison failed to include any

information about his connection to Serendipity, the connection between Serendipity

and Shun Fat (where Harrison planned to ship aII of his shark frns), or the

substantial payments to Harrison by Serendipity.

      66. All of the wires and checks were paid from Serendipity's       JP Morgan

Chase bank account, ending   in 5225. "fhe address   associated with this Serendipity

bank account is currently Target Location 2 according to JP Morgan Chase records.

At the time period referenced in these wires and checks, the address associated with

this Serendipity bank account was Target Location 1. Because all of the invoices

submitted by Harrison with the CITES Export Permit Application for Phoenix

Fisheries were actually paid by Serendipity, Harrison's submission of those invoices

rendered the CITES Export Pernit Application materially false and misleading.

      67.    On March 15, 2016, USFWS denied Harrison's application for a CITES

Export Permit. Harrison submitted a reconsideration request on April 29,2016,

which was denied on May 31, 2016. Harrison appealed to the Director of the USFWS

on JuIy 20,2016 and was denied on August 25, 2016.

      68.    A recent analysis of Serendipity's frnancial records for the time period

ofAugust 1, 2019, through December 31, 2019, revealed that the WU TCO continued

to purchase shark frns from the same shark fin dealers listed on Harrison's CITES

Export Permit Application. The address on the bank account for Serendipity records



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paying for the shark frns during this time period was Target Location 1. The table

outlined below details WU's payments to shark frn dealers:


DATE                 PURCHASE OF             AMOUNT           SHARK
                                                              DEALER
08/09/2019           Shark Fins              S20,000          Seafood Atlantic
10/24/2019           Shark Fins              $8,718           Day Boat Seafood
12/18/2019           Shark Fins              $8608            Safe Harbour
                                                              Seafood
12/18/2019           Shark Fins              $2,121           Bryant Products
12/27/2019           Shark Fins              $10,000          Madeira Beach
                                                              Seafood



       69. All of the purchases outlined above were paid from Serendipity   Chase

bank account, ending in 5225. T};re address associated with this Serendipity bank

account is currently Target Location 2 according to JP Morgan Chase records. At

the time period referenced in these wires and checks, the address associated with

this Serendipity bank account was Target Location 1. Again, these purchases were

made in a manner to conceal the ownership, to control the property and proceeds,

and to defraud others.

                                  Export Paperwork

       70.   USFWS investigators also reviewed shipping records for shipments of

dried shark fins by Phoenix Fisheries, with an address of Target Location 19, and

found further connections to Wu and Serendipity. For example, on December        13,

2017, shipping records showed that Phoenix Fisheries (Target Location 19) exported

944 kg ofdried shark frns through the Port of Atlanta destined to Shun Fat in Hong
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Kong. The shark frns were shipped from Target Location 21. The Air WaybiII located

with this shipment requested the airlines to notifu Terry Wu upon arrival in Hong

Kong. The WaybiII did not mention Serendipity. A Commercial Invoice # 047 d,ated

l2l5ll7, itemized dried shark frns sold by Phoenix Fisheries to Shun Fat        Sea

Products Trading Company for $88,480. This paperwork for the export involving

Target locations 19 and 21 concealed the ownership, concealed who was controlling

the property and proceeds, and defraud others. Shun Fat is the same Hong Kong

based company that wired approximately $7 million to Serendipity   with an address

of Target Location 1 from November 23, 2013 through January 3I,2020.

      71.   As of March 17, 2020, shipping records reviewed indicate Phoenix

Fisheries (Target Location 19) has exported sixty-frve shipments of dried shark frns

through the Port of Atlanta and the Port of Savannah to Shun Fat in Hong Kong.

Many of these exports show an average weight of approximately 500 kilograms with

a conservative market value of approximately $45,000.

                  Members of the Wu TCO Email Communications

      72.   As part of this investigation, agents obtained federal search warrants

for multiple email accounts, including Terry Wu's Gmail                    account,

twu0723@gmail.com, and Mark Harrison's AOL account, mhfinman@aol.com. Upon

reviewing the emails, agents learned that Harrison, Natalie Wu, and Terry Wu, use

email to communicate about the seafood operations for the Wu TCO. Additionally,

the email records show that Harrison regularly communicates with Natalie and
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Terry Wu concerning paying the shark frn dealers, shipping the shark frns to Hong

Kong, and getting paid for Phoenix Fisheries' company expenses.


      73.    For example, on March 5, 2014, Natalie Wu sent Mark Harrison and

Terry Wu an email concerning a wire transfer to a shark frn dealer. The email

contained a photo of a wire transfer confirmation that shows $14,950 being wired

into a "Mark's vendor" bank account. Agents have determined this vendor to             be

Henry Hung ofVenice Seafood located in Venice, Louisiana. In the message section

of the wire transfer confirmation,   it is notated, "purchase 1300 lbs of frns."   Agents

further confirmed that the wire transfer originated from Serendipity Business
Solutions, LLC Chase bank account ending        in 5225.   Chase records have Target

Locations 1 and 2 as the address for this bank account. Based on my training and

experience and   this investigation through indiitment,      I   believe that Terry and

Natalie Wu through Serendipity Business Solutions, rather than Mark Harrison and

Phoenix Fisheries, were paying for shark frns to be shipped to Shun Fat in Hong

Kong, in violation of California and federal law.


      74.    As another example, on April 2,2014, Natalie Wu sent an email to

Mark Harrison and copied Terry Wu concerning paying Mark Harrison for company

expenses. The email contained a photograph of a wire transfer confirmation that

shows $8,000 being wired into Mark Harrison's Phoenix Fisheries Regions Bank

account ending    in   7420 for company expenses. The wire originated from

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Serendipity's JP Morgan Chase bank account ending in 5225. Bank records have

Target Locations 1 and 2 associated with the bank account. Based on my training

and experience and this entire investigation,   I   believe that Terry and Natalie Wu

through Serendipity Business Solutions are paying the business expenses of Mark

Harrison and Phoenix Fisheries and ultimately paying for shark frns to be shipped

to Shun Fat in Hong Kong, all in violation of California and federal law.


      75.    As another example, on January 10,zUll , Natalie Wu sent an email to

Mark Harrison concerning a shark fin dealer, Viking Village. The email notifred

Harrison that aII payments were up to date and included frve photographs of

attachments to the email which displayed recent payments. One photograph

displayed an envelope addressed to Viking ViIIage with a return address of Harrison

at Target Location 19. The photograph           also included Serendipity Business

Solutions, LLC check #1277 from Chase bank account ending            in   5225   with   an

address of Target Location   1.



      76.    As another example, on January 17, 20L7, Natalie Wu emailed Mark

Harrison a photograph ofa check written from Serendipity Business Solutions LLC

check from Chase bank account ending in 5225 made payable to Carolina Seafood           in

the amount of $2,345 dated January l0,2Ol7 for "Phoenix Fisheries #004." In the

photograph next to the check was an invoice #004 from Phoenix Fisheries with an

address of Target Location 19 that was billed to Carolina Seafood for shark frns.


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Following the invoice in the picture was an envelope for the check to be mailed to

Carolina Seafood with a return address of Mark Harrison, Target Location 19.


       77.    Based on my training and experience and this investigation through

indictment,   I   believe that Terry and Natalie Wu through Serendipity Business

Solutions, rather than Mark Harrison and Phoenix Fisheries, were paying for shark

frns to be shipped to Shun Fat in Hong Kong, in violation of California and federal

Iaw.


       78.    The Wu TCO continued to use emails to communicate in 2020. Email

communication between an undercover agent (UC) and Mark Harrison in January

2020 revealed Harrison (Target location 19 and 20) and Serendipity Business

Solutions, through Chase account ending    in   5225, have continued to trade in shark

fins in violation of California law by the use of wires to conceal or disguise the

ownership, the control of the property and the proceeds, and to defraud others to

benefrt the WU TCO.


       79.    For example, on January 13,2020, the UC recerved an email from Mark

Harrison (mhfinman@aol.com). Harrison wrote in part, "...Here is the address for

you to seII your shipment directly to    HK."    Harrison provided the UC with the

business name ofthe Shun fat Sea Product Trading Company and an address for the

company in Hong      Kong. The UC was never paid directly from Hong Kong. Instead,

the UC received payment from the Serendipity Business Solutions Chase account

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ending in 5225. Chase records have Target Locations    l   and 2 asthe address for this

bank account.

        80.   As another example, in February 2020, Mark Harrison sent an email

to Terry Wu and gave Terry Wu the name of the undercover company and undercover

bank account the UC used for Terry Wu to pay for the shark frn shipment to Hong

Kong.


        81.   Based on this entire investigation and my training and experience,      I
believe the Wu TCO created Phoenix Fisheries, LLC, a front seafood company in

Florida (Target Locations 19 and 20), to hide the unlawful shark frn business it

conducts through Serendipity Business Solutions in California (Target Locations 1-

3). The Wu TCO hides its unlawful shark fin business by using fake invoices and
paperwork representing Target Locations       2 to make it       appear that Phoenix

Fisheries in Florida (Target l,ocations 19 and 20) was invoicing and financing the

shark frn business. However, the Wu TCO is using Serendipity Business Solutions

(Target Locations 1-3) to actually finance and control the shark frn business.


    The Wu TCO Connection to Drug          Trafficking and Mexican Cartels

        82.   From review of financial records and other items, investigators believe

the Wu TCO is not only engaging in unlawful wildlife trafficking of shark frns, but

is also involved in international drug traffrcking, international money laundering,

and international wildlife trafficking ofsea cucumbers. Financial documents show

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that Serendipity, in California, and Shun Fat Seafood Product Company, in Hong

Kong, also conduct business with Velazquez Seafood International, LTD, in Mexico,

a company associated with drug cartels that operate in Mexico and elsewhere and

are involved     in   largescale drug traffrcking, money laundering, and wildlife

traffrcking. Financial documents and undercover operations outlined below further

show that the Wu TCO traffrcs shark frns and sea cucumbers from Mexico on behalf

of Eduardo Beltran Gomez, an associate of another drug cartel operating in Mexico

and elsewhere.

      83.    Financial documents also reveal that Shun Fat Seafood opened a Wells

Fargo bank account ending in 3322 with Target Location 2 as the business address.

Terry Wu, Tony Wu, and Simon Bowie Liu are signors on the bank account.

According   to   California secretary   of state records, Shun Fat    Seafood was

incorporated in 2019 with a business address ofTarget Location 2. Terry Wu is the

chief frnancial offrcer, Simon Bowie Liu is the chief executive offrcer, and Tony Wu

is the registered agent for Shun Fat Seafood.

      84.    On January 5, 2020, Simon Bowie Liu, possessed 100 pounds of

marijuana discretely packaged in totes during a traffrc stop in Arkansas. During the

traIfic stop, Simon Bowie Liu explained that he was in a wholesale seafood business

and was traveling to make some deals. Simon Bowie Liu further explained that his

company was called, "Hummingbird Trading." Before the marijuana was discovered,

Simon Bowie Liu said "the company" asked him to bring the totes. After the

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marijuana was discovered, Simon Bowie Liu explained that he was actually

transporting marijuana from California to Virginia.

      85.   During this investigation, Terry Wu traveled to Mexico, and law

enforcement searched Terry Wu's cell phone when he returned to the United States.

Agents observed a text message conversation in March 2019 between Terry Wu and

an associate concerning the company Hummingbird. In the text messages, Terry

Wu said, "But now the company has been restructure to Shun Fat Seafood." "Not

hummingbird anymore." Terry Wu further said that Hummingbird belongs to

Simon. Based on my training and experience and this entire investigation, I believe

that the Hummingbird company used for drug traffrcking is also Shun Fat Seafood

at Target Location 2 and is used by the Wu TCO for drug traffrcking.

      86.   As part   ofthis investigation, agents obtained   a commercial invoice from

Serendipity to Shun Fat with the business address of Target Location 3 for

Serendipity. A search of Terry Wu's cell phone revealed that on January 17, 2017,

Woonjin Lam and Terry Wu communicated through WhatsApp. In the conversation,

Woonjin Lam showed Terry Wu multiple photographs of fish bladders,                  sea

cucumbers, and operations    in Mexico. Terry Wu then sent Target Iocation 3 for

Woonjin Lam to meet him in the office.

      87.    Based on my training and experience and this entire investigation,       I
believe that Terry Wu and his conspirators launder money for a number of criminal

organizations, including Asian organized crime and Mexican cartels as outlined

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herein. I further believe that Terry Wu took over business from AIIen Leung after

his murder. I further believe that Mark Harrison is conducting illegal traffrcking at

Target Locations 19 and 20 at the direction of Terry Wu and Serendipity Business

Solutions operating out of Target Locations 1-3 and supplying shark fins to Shun

Fat Seafood Products Trading Company in Hong Kong in violation of California and

federal   law. I further   believe that Target Locations 2 and 3 are used.as business

addresses   for Serendipity Business Solutions and Shun Fat Seafood Company in

furtherance ofthe Wu's TCO illegal money laundering conspiracy connected to drug

traffrcking and wildlife trafficking conspiracy.

                              TARGET LOCATIONS 4-6


       88.     Based on this entire investigation and my training and experience,    I
believe the Wu TCO uses Target Locations 4-6 in furtherance     ofits drug traffrcking

business. Target Location 4 is Woonjin Lam's residence. Target Location 5 is

another residence associated with Woonjin       Lam. Target Location 4 is   across the

street from Target Location 5. Target Location 6 is the residence of Ying Le Pang.


       89.     Agents also interviewed Confidential Source #11, hereinafter referred

to as "CS #1," who was involved in the distribution of hundreds of pounds of


t CS #1 has provided information to Iaw enforcement personnel that has been checked
and corroborated to the extent possible and practical. Based on this corroboration, it
has been determined that CS #1 is a reliable source. CS #1 is providing information

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marijuana from California to Georgia and elsewhere. CS #1 helped agents identifi,

Woonjin Lam, an associate of Terry   Wu.     CS #1 told agents   that Lam previously

supplied him/her with significant quantities of marijuana from California to Georgia

through the United States Postal Service. Postal records corroborate the multiple

mail shipments of packages consistent with marijuana being shipped to the source

through the mail. CS #1, who is currently on probation for drug traffrcking, agreed

to cooperate. CS #1 explained that Woonjin Lam is responsible for distributing

thousands of pounds of marijuana on behalf of the organization.

       90.   A review of Terry Wu's cell phone from the search ofhis phone verifred

Wu's contacts with members of drug cartels, Woojin Lam, and others members of the

Wu TCO.

       91. In November      2018, CS #1 allowed agents to conduct a consensual

wiretap on his/her phone. With that phone, CS #1 contacted Woonjin Lam to

coordinate the shipment of marijuana from California to Savannah, Georgia. Agents

then conducted several undercover operations, conducted physical surveillance, and



to law enforcement for money and for assistance with his/her criminal drug charges.
CS #1 has multiple felony convictions, including the sale and distribution of
marijuana.




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identifred additional associates of the Wu TCO and locations used by the Wu TCO in

furtherance of its criminal enterprise as outlined in more detail below.


      92.      On December 6, 2018, agents made a surveilled and controlled delivery

of $4,200.00 of government money to purchase marijuana from Lam in California.

Ying Pang, one of Lam's associates, took possession ofthe money at Pang's residence

Iocated at 18002 Via Arroyo, San Lorenzo, California, Target Location 6. During the

surveillance two separate vehicles were observed arriving at Target Location        6,


removing black trash bags that appeared to be almost fuII from their vehrcle and

taking the trash bags into the garage of the residence. Lam thereafter shipped

samples of his marijuana (1523.7 grams) to Savannah, Georgia, which was seized by

postal inspectors.

      93.      I believe that the black trash bags contained amounts ofmarijuana that

were transported to Target Location 6 for the purpose of being packaged for

distribution to marijuana distrrbutors supplied by Lam and Pang.

       94. After the controlled purchase, Woonjin Lam inquired when CS #1
wanted to purchase a larger quantity of marijuana.

      95. On February 20, 2019, USFWS, USPIS,              DEA Oakland, and DEA

savannah successfully conducted a joint operation invoiving surveillance and         a


controlled delivery of a USPS package containing $35,000.00 USC in exchange for      a


25 pound marijuana delivery to Savannah, Georgia, that CS #1 and Woonjin Lam

agreed   to.   The $35,000.00   usc   was delivered to Target Location     6.   During
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survelllance ofTarget Location 6, agents observed three different vehicles arrive and

take bags from their vehicles into the garage. One vehicle removed black bags, one

vehicle removed a clear bag, and the third removed a white bag.

      96.    On February 21, 2019, Lam was observed driving a 2016 Tesla SIIV

displaying California license   plate   7W   CL282, registered to Terry WU at Target

Location 1, after walking out of Target Location 4 and walking across the street to

Target Location 5, where Lam drove away using Terry Wu's Tesla SIIV. Agents

continued surveillance on Lam as well as Target Location     6. Ultimately, Lam was
observed parked   in front of Target Location 6 using Terry Wu's Tesla SUV. AIter

Ieaving Target Location 6, agents maintained surveillance on Target Location 6.

Pang was observed leaving and returning with a Home Depot box. Pang took the

Home Depot box into the garage of Target Location 6 and a short time later was

observed leaving Target Location 6 with the Home Depot       box. Pang drove to the

United States Post Office in San Lorenzo, California, and took the Home Depot box

inside. Pang mailed the box to Savannah, Georgia. USPIS seized the box at the post

office and had the box securely sent to Savannah, Georgia. The Home Depot box was

turned over to me at the DEA Savannah RO and contained 25 packages of marijuana

totaling approximately 12,739 grams of marijuana.

      97.    I believe Pang used Target Location 6 to receive funds for the purchase

of marijuana from Pang and Lam and turned a portion ofthe funds over to Lam on

February 2:r,2OIg, when Lam was observed at the residence. Furthermore, I believe

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Pang received marijuana from suppliers at his resrdence and packaged the 25

packages of marijuana inside the residence prior to transporting the marijuana to

the United States Post Office to be mailed to Savannah, Georgia.

      98.    Based on my training and experience and this entire investigation,           I
believe that The Wu TCO, including Woonjin Lam and Ying Le Pang, use Target

Locations 4-6 in furtherance ofits drug traffrcking and money Iaundering business.

                                   TARGET LOCATIONS 7-9


      99.    Based on this entire investigation and my training and experience, I

believe the Wu TCO uses Target Locations 7-9 in furtherance of its unlawful drug

trafficking business. Target Locations 7-9 are warehouses used to store and

cultivate marijuana for distribution. Target l,ocations 7-9 are aII located within an

approximately three mile radius.

      100.   On August 16, 2019, CS #1 met with Ying Le Pang and Woonjin Lam

at Target Location   6.   Woonjin Lam explained that the organization had a 20,000

square foot warehouse for its marijuana business and Woonjin Lam was trying to

get additional warehouses.

      101.   On August     7   ,   2020, CS #1 met with Ying Le Pang at Target Location   7.


Prior to that meeting, DEA agents provided CS #1 with a ceII phone equipped with

a live feed so agents could monitor the meeting. During the meeting, Ying Le Pang

told CS #L that the organization was using Target Location 7 to store and cultivate

marijuana plants for distribution. cs #1 also recorded and agents observed a large
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number of marijuana plants inside Target Location      7.   CS #1 advised agents   that

there were approximately 1000-1500 marijuana plants at Target Location       7.

        lO2.   A review of Terry Wu's cell phone from the search of his phone revealed

a plumbing repair receipt for Target Location   8. In addition, Terry Wu was texting

a plumber concerning a plumbing repair biII for Target Location 8.

        103.   Based on this entire investigation, agents located Target Location 9 as

the third warehouse used by the Wu TCO based financial records. Target Location

9 is   associated   with GREEN W LLC, a business registered to Terry Wu and
Weichuan Liu through bank records.

        I04.   On August 5, 2020, agents went to Target Locations 8 and 9 and

smelled an overwhelming odor of marijuana coming from Target Locations 8 and 9.

        105. Agents also reviewed offrcial records with the City   of Oakland and the

State of California to determine ifTarget Locations 7-9 were lawful grow operations

for the state of California. As of August 14, 2020, no permits or offrcial business

documents were issued for Target Locations 7-9 authorizing the grow operations in

California.


        106.   Based on my training and experience and this entire investigation,     I

believe that The Wu TCO, including Terry Wu, Woonjin Lam and Ying Le Pang, use

Target Locations ?-9 in furtherance of its drug trafficking and money laundering

business.



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                           TARGET LOCATIONS 1O-11

      7O7. Based on this entire investigation and my training and experience, I

believe the Wu TCO uses Target Locations 10-11        in furtherance of its unlawful
wildlife traffrcking and money laundering business. Target Location 10 is the

residence of   Billy Chen. Target Location 11 is a business address listed for   QBC

International, Inc. on paperwork fiIed with the USFWS for the importation of sea

cucumbers from Mexico and USFWS import export license for Target Location 3.

Billy Chen is the incorporator, chief executive of6cer, secretary, chief frnancial
offrcer, and agent for QBC International,     Inc.   According to records with the

California Secretary of State, QBC International, Inc. is a California company

engaged   in the import and export business. Billy    Chen's home address, Target

Location 10, is listed as an address for QBC International.


      108. As part of this investigation, agents identifred BiIIy Chen as an
associate of Terry Wu and involved    in wildlife trafficking and money laundering.

The entire investigation identifred Billy Chen as an importer, supplier, and

transporter of shark frns and sea cucumbers operating from Target Locations 10 and

11.


      109. Agents connected Billy     Chen directly to the Wu TCO through a phone

analysis and seafood purchases from Mexican cartel member Beltran Gomez and toll

records for Terry Wu and Woonjim Lam. USFWS conducted undercover operations

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involving Billy Chen and Beltran Gomez. Target locations 10 and 11 have been

involved in multiple shipments of sea cucumbers through Lalo to Chen from Mexico

the United States or Hong Kong during the current investigation.


       110. The investigation revealed that Eduardo Guadalupe Beltran           Gomez,

alkla, "Lalo," BiIIy Chen (QBC International), and others have devised schemes for

the purpose of obtaining and dealing in property (seafood) and money (proceeds)

through false and fraudulent pretenses or representations. The schemes involve the

use of wires to conceal or disguise the nature, the location, the source, the ownership,

the control ofthe property and the proceeds or to defraud others.


       111. In the current investigation, Chen has listed Target Location 3 on
USFWS Import / Export License applications and issued licenses. Chen has also

facilitated the importation at least forty shipments of sea cucumbers from Mexico,

Honduras and Nicaragua,        all   high-risk jurisdictions    for   trade-based money

laundering, to Target Location 11 to support the Wu TCO. Several of these

shipments were exported from Mexico through Lalo along with false documents.


       l1.2.   Based on this entire investigation,   I   know that Billy Chen, owner of

QBC International, frequently travels to Mexico for and with Terry Wu to source

shark fins and sea cucumbers from LaIo and others to distribute in the United States

and Hong Kong.



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      113. A review of Terry Wu's cell phone indicates that between September
16, 2018 and October 26, 2Ol8, Terry Wu and Billy Chen used WhatsApp to

communicate and conduct fraudulent transactions concerning the sale of sea

cucumber in the amount of $571,245 and involve money flows between the United

States, Mexico, Hong Kong, and China in 2018. I note that there has been no season

for the species of sea cucumbers involved in this transaction in Mexico for the last

ten years.


       lL4.   Through WhatsApp, Wu and Billy Chen communicate about wire

transfers concerning their personal domestic bank accounts and the business

accounts of QBC International, with an address noted at times as Target Location

10, Serendipity,   with an address of Target Location 1, and Shun Fat Sea Product

Trading Company though its Hong Kong address. In the communications, Wu and

Chen reference QBC International with an address of Target Location          10. In
addition, Wu and Chen send invoices for QBC International with an address of

Target Location      10.   Based on my training and experience and this entire

investigation, I believe that Wu and Billy Chen communicated on WhatsApp about

fraudulent wires to conduct wildlife traffrcking and obtain sea cucumbers and shark

frns involving Target Locations 10 and 11, all to conceal or disguise the nature, the

location, the source, the ownership, the control of the property and the proceeds or

to defraud others.


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      115. In addition, in October and November 2019, Lalo, BiIIy Chen,             and

others again devised a scheme to involve the use of third party bank accounts and

false documents to conceal the source of illegal product, hide the proceeds and

possibly avoid paying taxes due in Mexico. Specifically, LaIo and others received

financial transactions from the United States to sell property (sea cucumbers)

through false and fraudulent pretenses through a purchase of 1,000 kg ofillegal sea

cucumbers lHolothuria floridanaf. There has been no legal season for Holothuria

floridana in Mexico for an extended period of time and export is prohibited.

      116. In Mexico, there is only one species of sea cucumber legal to harwest
during limited quota seasons, which usually last 2 weeks flsostichopus badionatus].

IIlegaI harvesting continues throughout the year and once the product is dried, a few

sources of supply have connections   within government offrcials to get paperwork

[through payment by an alleged bribe] to make the product appear as            it   was

harvested during an open period and was being sold as "stored product." As part of

this investigation, undercover agents have paid for two of these illegal invoices

obtained from Lalo through other associates.


      117. In October and November 2019, Lalo was the          source of the illegal

product, false documents, and payments allegedly made to Mexican offrcials to

export the illegal product. Undercover agents purchased 1000 kg from LaIo for

$70,000. Using WhatsApp, another conspirator directed undercover agents to make

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payment to Lalo through QBC International, with an address of Target Location 10.

The undercover agents paid for the product up front, which included the fees

necessary   for Lalo to allegedly bribe customs for a safe exit. The product      was

exported from Mexico around November 1, 2019 and received in Hong Kong on or

about November 5, 2019. Based on my training and experience and this entire

investigation,   I   believe that the Wu TCO, including      Billy Chen and      LaIo,

communicated on WhatsApp about fraudulent wires concerning Target Locations 10

and 11 to conceal or disguise the nature, the location, the source, the ownership, the

control ofthe property and the proceeds or to defraud others.


      118. As another example, in December, 2019 Lalo and others             received

frnancial transactions from the United States and likely Hong Kong and defrauded

others of property (sea cucumbers) and proceeds through a purchase of 2,970 kg of

illegal sea cucumbers. As noted above, there has been no legal season for Holothuria

floridana for an extended period of time and export is prohibited.

      119.    Undercover agents have paid for two of these illegal invoices obtained

from LaIo and others. LaIo was the source of the illegal product, false documents,

and payments made to Mexican offrcials to insure no action was taken against the

iIIegally harvested sea cucumbers upon harvest, processing, and export from Mexico

to Hong Kong. USFWS undercover agents negotiated a price of $40 / kg with Lalo

through others for a buyer in Hong Kong for the amount of$118,880'


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      120. LaIo agreed to the price only if the undercover would provide        the

$25,000 necessary to allegedly bribe to Mexican Customs officials     to export the
product out of Mexico without seizure. Through the negotiations, LaIo ultimately

arranged to deliver the product to the Shun Fat Product Trading Company because

the undercover or the other Hong Kong buyer would not pay for the product up front.

Undercover agents arranged for a buyer to go to Shun Fat Sea Product Trading CO

to inspect the sea cucumbers, pay for the product through the undercover agents,

who would in-turn pay LaIo, and facilitate transport. Upon arrival, and subsequent

effort to obtain the product, the Shun Fat Sea Product Trading CO refused to release

the product and sold the product to another buyer. Lalo never returned the $25,000

payment @ribe money) to the USFWS undercover agents. Lalo said he would credit

the $25,000 towards a shipment of shark frns to the United States which never

happened. The communication again took place over WhatsApp. Based on my

training and experience and this entire investigation, I believe that the Wu TCO,

including Billy Chen and LaIo communicated on WhatsApp, telephonically or in

person, about fraudulent wires to conceal or disguise the nature, the location, the

source, the ownership, the control of the property and the proceeds or to defraud

others.


          1^2l. Thus, based on this entire investigation and my training and

experience, I believe the Wu TCO uses Target Locations 10-11 in furtherance of its

unlawful wildlife traffrcking and money Iaundering business.
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                          TARGET LOCATIONS 12-15

      122.   Based on this entire investigation and my training and experience,        I
believe the Wu TCO uses Target Locations 12-15            in furtherance of its   money

laundering conspiracy. Target Location 12 is a residence of Wu TCO member

Heather Luu. Target Location 12 is also the address listed for multiple business

entities used by Heather Luu and the Wu TCO for trade-based money laundering.

Target Location 13 is a jewelry business used by Heather Luu and the Wu TCO for

trade-based money laundering and fake invoices. Target Locations 14 and 15 are

the business addresses for Ohansons, LLC and both locations are in the California

Jewelry Mart commercial building. Target Location 14 is on the frfth floor, and

Target Location 15 is on the ninth floor. Target Locations 14 and 15 are connected

to bank accounts used by the Wu TCO for trade-based money laundering.


      123. From the undercover operations involving Woonjin Lam,                  agents

learned that Lam is aiding the Wu TCO with the money laundering operation along

with the distribution of narcotics. Heather Luu and Lam Phuoc Quang have also

been identified as money launderers for the Wu TCO and criminal associates of Lam

and Wu.

      124. In August    2019, Woonjin Lam rntroduced CS #1 to Heather         Luu. As a

result ofthis introduction, CS #1 was able to introduce   a   DEA undercover agent ([JC)

to Luu. Luu was made to believe that the UC was a money launderer for a Drug

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Traffrcking Organization (DTO) which distributed bulk quantities of cocaine in the

United States and elsewhere. Luu was made to understand that the UC needed

assistance which Iaundering bulk currency derived from the cocaine sales. In

August, September, and October 2019, the UC conducted multiple successful reverse

money laundering operations with Luu in Los Angeles, California. In January 2020,

the UC conducted a reverse money laundering operation in Savannah, Georgia with

Luu and Quang. These reverse money laundering operations involved bank accounts

associated with Target Location 13.

      125. In August of 2079, UC contacted Luu and arranged     to meet Luu in the

Los Angeles area. DEA and USFWS agents traveled to Los Angeles, California,   with

$100,000.00 DEA Official Advanced Funds, to meet    with Luu, deliver the money to

Luu, and have Luu Iaunder the money back to UC via wire transfer minus a        6%

commission fee. During the meeting, Luu introduced Elias Castellanos to the UC.

Luu and Castellanos talked to UC about marijuana farming, making sure UC's bank

account was a business account, and also talked about Luu exporting marijuana to

Vietnam. Luu ultimately laundered and wired $94,000.00 United States Currency

back into the DEA UC bank account from a business account, Colwort Inc.

      126. On 9l4l2ol9 Colwort Inc. wire transferred $94,000 to a DEA          UC

account from the Colwort US Bank account #157 5192069 48. Prior to sending the

transfer, the Colwort account was funded by a $150,500.00 deposit on 8/2812019. The

deposit was made up of Rainbow Way Trucking Inc. check #1010 in the amount of
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$80,000.00 and S&T US Inc. check #2368 in the amount of $70,500.00 both from US

Bank accounts. Xinzhong Yan is a signer on the US Bank account of S&T US INC.

account # ending in 3336. Xinzhong Yan also signs the check #1010 from Rainbow

Way Trucking Inc.

      127. On ll9l2o2O S&T US Inc. wired        $70,000.00 directly   to a DEA   UC

account.

      I28. In September     of 2019, the UC arranged to deliver $200,000.00 DEA

Official Advanced Funds to Luu. During the meeting, Luu introduced Lam Phuoc

Quang to   UC.   Quang took possession of the $200,000.00 bulk cash from UC, and

Luu laundered and wired two separate wire transfers in the amounts of $99,000.00

and $89,000.00 back into the DEA UC bank account from business accounts, Jeans

Jewelry Inc. (Target Location 13) and Colwort Inc.

      129.   The wire transfer in the amount of $99,000.00 was sent directly from

the Jeans Jewelry account 690856716 at Chase Bank on 912312019, with an address

of Target Location 13. On 912312019, Jeans Jewelry had received a transfer from

Ohansons LLC (Target Locations 14 and 15) in the amount of $97,157.30. The wire

transfer in the amount of $89,000.00 was sent from the Colwort Inc. account

#I57 51g2OGg48 at US Bank on 912312019 after Colwort received a wire transfer on

gt2olzolg in the amount of $99,000.00 from the Jeans Jewelry (Target Location 13)

account 690856716. On 9t1912O1.9, Jeans Jewelry (Target Location 13) had received




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a transfer from Ohansons LLC (Target Locations 14 and 15) in the amount of

$240,642.75.

      130. Agents Iearned that Quang was the subject of            a   separate HSI

investigation   h   2017 when Quang was found to be in possession of approximately

1.7 million United States Currency during a traffrc stop   in Meridian, Mississippi.

Quang was interviewed and stated that he was taking the money from Atlanta,

Georgia, to Los Angeles, California, and would be paid $10,000.00. The United

States Currency was seized by HSI, and Quang was not criminally charged.

      131. In October of 2019, the UC arranged to deliver         $200,000.00 DEA

Offrcial Advanced Funds to     Luu. During the meeting, Luu    was accompanied by

Castellanos. Castellanos took possession ofthe $200,000.00 bulk cash from the UC,

and Luu laundered and wired one wire transfer in the amount of $188,000.00 back

into the DEA UC bank account from a business account, Primus Pharma Inc.

      132. On lll4l20l9,      $188,000.00   in laundered funds was wire transferred
from Primus Pharma Inc. account #000157519207763 at US Bank. On 11/1/2019,

the Primus Pharma account received a wire transfer of $198,000.00 from Jeans

Jewelry account #690856716 at Chase Bank (Target Location 13). On 1Ol28l2OL9,

Jeans Jewelry (Target Location 13) received a transfer from Gary Austin       in   the

amount of $152,500.00 and on 1012512079 a transfer from Ohansons LLC (Target

Locations 14 and 15) in the amount of $193.414.40.



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       133. In December     of 2019 and January of 2O2O, the UC communicated   with

Luu regarding Luu traveling to Savannah, Georgia, to pick up $500,000.00 DEA

Offrcial Advanced Funds from UC to be laundered. In January of 2020, Luu and

Quang traveled to Savannah, Georgia, where they met with the UC at an undercover

U.S. Fish and Wildlife warehouse located in Savannah, Georgia. The UC turned

over $500,000.00 bulk currency to Luu and Quang. Luu and Quang ultimately

transported the $500,000.00 bulk currency back to Los AngeIes, california by driving

different rental vehicles. Luu successfully laundered the $500,000.00 United states

currency for the   uc   through multiple wire transfers, teller transfers, and bulk

currency money pickups to be returned to the UC minus 10% commission fee. The

following is a list of wire transfers conducted to launder the bulk currency for the

UC:

           a. January 9,   2020, $70,000.00 United States Currency wired back into

DEA UC Account from business account, S&T U.S. Inc. Xinzhong Yan is a signer on

the US Bank account of S&T US INC. account number ending in 3336. Xinzhong Yan

also signs the check #1010 from Rainbow Way Trucking      Inc.   On August 28' 2019,

Colwort Inc. deposited checks from S&T US INC for $70,500.00 and $80,000.00 from

Rainbow Way Trucking, then on September 4,2019, wires $94,000.00 to a DEA UC

account.

           b. January 13,2020, $198,000.00 United   States Currency wired back into

DEA UC Account from business account, Jeans Jewelry Inc, (Target Location 13).
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The funds were wire transferred directly from Jeans Jewelry account #690856716 at

Chase Bank on January 13,2020 and on the same day Jeans Jewelry (Target Location

13) received a transfer from Ohansons LLC (Target Locations 14 and 15)         in the
amount of $249,323.25.

          c.   February 6,2020, $16,670.00 United States Currency wired back into

DEA UC Account from Community Choice Credit Union personal account of Anthony

E. Gatliff. Gatliff also wrote check #1542 on January 20, 2020 to the North Star

Consulting account of Heather Luu in the amount of $ 16,667.00.

          d. February 19,2020, $80,000.00 United States   Currency wired back into

DEA UC Account from business account, Jeans Jewelry Inc. (Target Location 13).

The funds were wire transferred directly from Jeans Jewelry (Target Location 13)

account #6908567LG at Chase Bank. LuushowedtheUC a fake invoice for51 ounces

of 24k gold for $80,000.00 purportedly from Jeans Jewelry (Target Location 13.) for

this transaction.

          e.   February 25,2020, $72,315.00 United States Currency transferred back

into DEA UC Account from business account, Trinity Consulting Group LLC. On

February 25,2020, Terry Shook (Target Location 18) and Trinity Consulting (Target

Location 18) conducted a Bank of America interbank transfer in the amount of

$72,315.00 from his   Trinity Consulting account #375000418408 to a Bank   of America

UC account ending in 6793. The address on the account is Target Location 18.



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      734. On February 26, 2020, Luu was stopped by local law enforcement in
Grand Junction, Colorado. Luu and Kevin Nguyen were              in the vehicle,   and

$170,640.00 USD was seized from Luu along with cellphones belonging to Luu and

Nguyen. Luu stated she got the money from Terry and provided Terry's phone

number from her cell phone. The office located a jewelry receipt that showed Luu

sold 129 ounces of 24 karat gold.   It   should be noted that the Jean's Jewelry Inc.

(Target Location 13) receipt for the 129 ounces of24 karat gold stated it was paid by

wire into a DEA UC account.

      135. I   also note that while receiving location data from AT&T for Heather

Luu's cell phone with phone number 714-307 -417I pursuant to a Federal Search

Warrant issued in the Southern District of Georgia, Luu was located at Target

Location 18 on January 31,2020, and February 25,2020. Target Location 18 is

Terry Shook's address.

      136. On March 17, 2020 from the same Bank of America                   account

#375000418408,   Trinity Consulting (Target Location 18) writes      check #1606 for

$10,000.00   to North Star Consulting with note for Masks and check #1607 for

$10,000.00 to Primus Pharma with note for Masks. Primus Pharma and North Star

Consulting are controlled by Heather Luu and Primus Pharma is connected to

Target Location 12.

      I37. On November 12, 2019 from the same Bank of America account
#375000418408, Trinity Consulting (Target Location 18) wire transferred $7,000.00

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to Elias Castellanos who has assisted Heather Luu in picking up funds to         be

laundered.

      138. Between January 9, 2O2O and February 25, 2O2O, when Luu              was

Iaundering the $500,000.00 United States Currency for the UC, several events

related to the investigation occurred. Luu told the UC that US Bank closed all of

her accounts after Luu tried to send a wire transfer in the amount of $182,000.00 on

January 14,2020. I believe the closure of Luu's accounts at US Bank was a major

factor in Luu taking more than two months to launder the $182,000.00 United States

Currency. Luu's communications with the UC indicated that Luu was nervous and

being cautious with her frnancial transactions.

      139.    Also, in March 2O20, the remaining United States Currency owed to the

UC, approximately $13,015.00,was returned through bulk currency pickups from

Kevin Nguyen near Atlanta, Georgia. On March 5, 2020, Nguyen turned over

$10,000.00 United States Currency    to a DEA UC. On March 18, 2020, Nguyen

turned over $3,020.00 United States Currency to a DEA UC, which was $5.00 more

than owed.

      140. After receiving the final $3,020.00 United States Currency from
Nguyen on behalf of Luu, Luu had successfully laundered $450,005.00 United States

Currency     for the UC, of which     $436,985.00 United States Currency was

electronically transferred via wire transfer or teller transfer back into undercover

DEA bank accounts utilized during this investigation.

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       1.41.. Agents also learned that while Luu was laundering the $500,000 for

DEA, she was staying at Target Location 12. Agents learned this from location data

from AT&T for Heather Luu's cell phone with phone number 714-307 -4I7 8 pursuant

to a Federal Search Warrant issued in the Southern District of Georgia. Between

January 2020 and March 2020, Luu was located at Target Location 12 almost every

day, indicating that she was staying at Target Location 12 during this   time. I note

that while Luu's ceII phone was at Target Location 12, she communicated with the

UC concerning the laundering the $500,000. Thus, based on this entire investigation

and my training and experience,    I   believe that Luu used Target Location 12 to

facilitate money laundering conspiracy on behalf of the Wu TCO.

       142. Bank records show that between January 3,2017 and January 31,
2020, Jeans Jewelry account #000000690856716 had total deposits of

$51,101,036.49. During the same period, Jeans Jewelry received $27,876,972.69

from Ohansons LLC and sent $11,949,043.68 to Ohansons LLC. In 2019, Jean's

Jewelry's total deposits were approximately $22,000,000.00, of which $14,610,599.21

came from Ohansons   LLC. Prior to the period covered by the bank records, Fedwire

records show that in 2015 and 2016 Ohansons LLC wired Jean's Jewelry $706,182.80

in   2015, $4,988,651.38   in   2016 and Jean's Jewelry wired Ohansons LLC

$7,802,005.91 in 2015, $5,620,945.55 in 2016. Bank and Fedwire records combined

to show that from 2015 through January of 2020 Ohansons LLC sent Jean's Jewelry

$27,571,806.87 and Jeans Jewelry sent Ohansons LLC $25,371,995.14.

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         143. DEA     agents interviewed Cooperating Source #22 (CS #2) who provided

information regarding Ohansons, LLC. CS #2 said that he/she has worked in the

jewelry industry for many years and has extensive knowledge about illegal activity

being conducted by several Los Angeles based companies. CS #2 said that Viken

Ohanian is the owner of Ohansons, LLC, a gold business located in    a   jewelry mall at

607 S HiII St, Los Angeles, CA (Target Locations 14 ad 15). CS #2 said    that Ohanian,

his sister Arousiag Ohanian Hanna, and her husband Tanios Hanna are the primary

individuals involved in the business, and that ohansons' launders illicit proceeds

through the buying and selling ofprecious metals, specifrcally gold.

         I44.   CS #2 said that Viken Ohanian, operating    in his role at   Ohansons,

receives bulk cash from individuals involved    in illicit activity including marijuana

traffrcking (hereafter "customer") and sells the customer gold bars. CS #2 explained

that Ohanian charges the customer the current gold price plus a $40-50 per        ounce

markup resulting in a $1,400 to $1,700 profit per kilogram of gold. According to CS

#2, the customer then sells the kilograms of gold to another business in the same

business complex which is also owned by Ohanian or associated with Ohanian. With



2                    information to law enforcement personnel that has been checked
    CS #2 has provided
and corroborated to the extent possible and practical. Based on this corroboration, it
has been determined that cS #2 is a reliable source. cs #2 is providing information
to law enforcement for money. It is my understanding that cS #2 does not have any
felony convictions.



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the sale of the bars, the customer has legitimized his illicit proceeds less          an

approximate   2.6%o char ge.


       145.   CS #2 stated     that Ohanian receives bulk cash from customers, which

he subsequently uses to personally purchase bars ofgold and then returns the money

back to the customer in the form of a check or a wire transfer. In this event, Ohanian

sells the gold to his gold buyer for the current cost of gold plus $3 per ounce resulting

in another small profrt.       Based on my training and experience and this entire

investigation, I believe that the Wu TCO use Ohansons, LLC at Target Locations 14

and 15 for trade-based money laundering.

       146. Bank    records for Jeans Jewelry lists Target Location 13 as its address.

Target Location 13 is a suite located inside the Asian Garden MalI and appears to

be a small and modest jewelry business. Target Location 13 does not appear to be a

multi-million dollar business and does not appear to have any signifrcant assets. In

addition, Target Locations 14 and 15 are business addresses for Ohanson, LLC

according to their bank records. Target Locations 14 and 15 are small suites inside

the California Jewelry Mart and do not appear to be billion dollar industries. A

review of frnancial records over an 18 month time period showed that in excess of       1


billion dollars United States currency moved through Ohansons LLC bank accounts.

In addition, a review oftax returns does not indicate or support that Ohansons, LLC

is involved in a billion dollar business. Thus, based on my training and experience

and this entire investigation, I believe that Jeans Jewerly (Target Location 13) and

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Ohansons, LLC (Target Locations 14 and 15) are front business for trade-based

money laundering used by the Wu TCO.

                         TARGET LOCAT10NS 16‑17

      147.   Based on this entire investigation and my training and experience,    I
believe the Wu TCO uses Target Locations 16-17        in furtherance of its   money

laundering and drug tralficking business.


      148. As outline   above, Heather Luu is a member of the Wu TCO that is

involved in money laundering. Target Locations 16 and 17 are residences associated

with Heather Luu.

      749. In December    of 2019 and January of 2020, the DEA UC communicated

with Luu regarding Luu traveling to Savannah, Georgia, to pick up $500,000.00 DEA

Offrcial Advanced Funds from the UC to be laundered. In January of 2020, Luu and

Quang traveled to Savannah, Georgia, where they met with the UC at an undercover

U.S. Fish and Wildlife warehouse located     in Savannah, Georgia. The UC turned

over $500,000.00 bulk currency to Luu and Quang. Luu and Quang ultimately

transported the $500,000.00 bulk currency back to Los AngeIes, California by driving

different rental vehicles. Luu successfully laundered the $500,000.00 United States

Currency for the UC through multiple wire transfers, teller transfers, and bulk

currency money pickups between January 9,2020 and February 25,2020.



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      150. Agents obtained a federal search warrant for location information
associated   with Luu's cell phone to determine her location and activates. On JuIy

15, 2O2O, United States Magistrate Judge Christopher      L. Ray granted a search
warrant for prospective phone location information. Through the use of this location

data, on or about JuIy 28,2O2O, DEA agents conducted physical surveillance to Iocate

Luu, who was accompanied by Lam Quang near Atlanta, Georgia. Agents have

identifred Target Location 16 and Target Location 17 used by Luu a4d Quang near

Atlanta, Georgia.

      151. Agents were able to determine through the City of Norcross that the
utilities for Target Location 17 are in Quang   s name.


      752. On January 27, 2020, Quang was arrested by Gwinnett County
Sheriffs Office for state charges of traffrcking marijuana. Quang was held at the

Gwinnett County Detention Center until he was granted bond. While incarcerated,

Quang and Luu had several conversations, which were recorded by the Gwrnnett

County Detention Center and reviewed by DEA SA Linh Vuong. Luu and Quang

discussed Luu renting a house near Atlanta, Georgia, to use as Quang's address for

the bond, along with Quang needing to obtain a Georgia driver s license. Agents

determined that Quang obtained a Georgia driver's license on 0412512020 and used

Target Location 16 as his address on the Georgia driver's license. Target Location

16 is also the address used by Quang when he bonded out   ofjail.

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       153.    Based on my training and experience and this entire investigation, I

believe that the Wu TCO uses Target Locations 16 and 17 in furtherance ofits money

Iaundering business.


                              TARGET LOCAT10N 18

       154.    Based on this entire investigation and my training and experience,   I
believe the Wu TCO uses Target Location 18 in furtherance of its unlawful drug

traffrcking business.


       155.    As outlined above, while investigating Heather Luu, agents identifred

Terry Shook as a member of the Wu TCO involved in drug trafficking and money

Iaundering. Luu successfully laundered $500,000 for the UC through multiple wire

transfers, teller transfers, and bulk currency pickups to be returned to the UC minus

the commission fee. One of the wires back into the DEA UC Account was on

February 25, 2020       in the amount of $72,315.00 United    States Currency from

business account, Trinity Consulting Group LLC.


       156. On February 25, 2O2O, Terry Shook (Target Location       18) and Trinity

Consulting (Target Location 18) conducted a Bank of America interbank transfer in

the amount of $72,315.00 from his Trinity Consulting account #375000418408 to a

Bank of America UC account ending in 6793. The address on the account is Target

Location 18.


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      157. On February      26, 2020, Luu was stopped by local law enforcement in

Grand Junction, Colorado. Luu and Kevin Nguyen were                in the vehicle and
$170,640.00 USD was seized from Luu along        with cellphones belonging to Luu and

Nguyen. Luu stated she got the money from Terry and provided Terry's phone

number from her ceII phone. The oflice located a jewelry receipt that showed Luu

sold 129 ounces of 24 karat gold.    It   should be noted that the Jean's Jewelry Inc.

(Target Location 13) receipt for the 129 ounces of 24 karat gold stated it was paid by

wire into a DEA UC account.

      158. I   also note that while receiving location data from AT&T for Heather

Luu's cell phone with phone number 714-307 -4178 pursuant to a Federal Search

Warrant issued in the Southern District of Georgia, Luu was located at (Target

Location 18) on January 31,2020, and February 25,2O2O. Target Location 18, Terry

Shook's address.

      159. On March \7, 2020 from the same Bank of America                     account

#375000418408,     Trinity Consulting (Target Location 18) wrote check #1606 for

$10,000.00   to North Star Consulting with note for masks and check #1607 for

$10,000.00 to Primus Pharma with note for masks. Primus Pharma and North Star

Consulting are controlled by Heather Luu and Primus Pharma is connected to

Target Location 12.

      160. On November 12, 2Ol9 from the same Bank of America                  account

#375000418408,     Trinity Consulting (Target Location   18) wire transferred $7,000.00

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to Elias Castellanos who has assisted Heather Luu in picking up funds to                  be

Iaundered.

         161. During a review       of content extracted from Luu's phone pursuant to a

federal search warrant in Colorado, which was seized in Colorado on February 26,

2020,   I   located screenshot images from WhatsApp conversations between Luu and

Shook regarding marijuana prices and different strains / quality of marijuana. The

WhatsApp screenshots had dates from January 2020 associated with them. There

were also pictures of marijuana buds in the WhatsApp conversation screenshots            with

Shook.


         162.   Based on my training and experience and this entire investigation,          I
believe that the Wu TCO uses Target Location 18              in   furtherance of   its   drug

trafficking and money laundering business.

                             TARGET LOCATIONS 21-22


         163.   Based on this entire investigation and my training and experience,          I

believe the Wu TCO uses Target Locations 21, and 22 in furtherance of its wildlife

traffrcking and money laundering business.

         164. Target Location 21 is the wholesale        seafood business Greg Abrams

Seafood,     Inc. Target Location   22 is the wholesale seafood business Phillips Seafood.

Based on this entire investigation, I believe Target Locations 21 and 22 supply shark

frns to the Wu TCO.
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        165. As outlined      above, Target Location 19 and Target Location 20 are

Iocations used by Mark Harrison to ship shark fins for the Wu TCO in California to

conspirators in Hong Kong. Target Location 21 and Target Location 22 are seafood

dealers   that provide the shark fins for Serendipity Business Solutions (Target
Locations 1-3) through Phoenix Fisheries (Target Locations 19-20).


        166. In an effort to infiItrate the Wu TCO,      agents identified dealers who

associate     with Mark Harrison. Greg Abrams is one shark fin dealer identifred in

Mark Harrison's CITES Export Permit Application. Greg Abrams Seafood is located

at Target Location 21 and is owned by Greg Abrams.


        167   .   Harrison has exported shark fins from the United States and purchased

shark frns domestically and in interstate commerce through the address of Abrams

Seafood 234 E Beach Drive, Panama City, FL 32401-3117, Target Location 21, since

2016.

        168. Harrison is required to possess a Florida Department of Agriculture
and Consumer Services [FDACS], Division of Food Safety, Food Entity Permit to dry

and export shark       fins. Phoenix Fisheries operates under an annual FDACS Food
Entity Permit that is issued to Phoenix Fisheries but falsely lists the address of
Target Location 21. Target Location 21 is the business address for Abrams Seafood.

        169. Between March 9, 2016 and May 1, 2018, Harrison, D/B/A Phoenix
Fisheries exported fourteen shipments of shark frns to Shun Fat Sea Product
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Trading Company in Hong Kong each with a FDACS Certifrcate of Free Sale, Health

and Sanitation, included in the export document package to "...certi$, that Phoenix

Fisheries LLC,234 E Beach Dr, Panama City, FL 32401-3317, USA has been issued

an annual food permit for Food Entity number 361684 by the Florida Department of

Agriculture and Consumer Services, and manufactures, distributes and packs

various food products for human consumption, that have been freely sold and

consumed in the United States of America as well as for export." As evidenced by

the issuance of an annual food permit for Food Entity number 361684 Phoenix

Fisheries LLC complies with all health and sanitation requirements of the Florida

Department   of Agriculture and     Consumer Services     for the   manufacturing,

distributing and packing of various food products for human consumption and is

regularly inspected for compliance with these requirements by representatives ofthe

Florida Department of Agriculture and Consumer Services. The food products in

this shipment were manufactured, distributed and packed under these sanitary

conditions for international export shipment to the country of Hong Kong."

      170. In total, approximately 24,571 pounds of dried shark frns valued at
approximately $819,306 were exported with the fraudulent FDACS Division of Food

Safety Certifrcates from Target Location 21.

      I7I.   On July 30, 2020 a shipment of shark frns was shipped in an undercover

capacity to Harrison. Harrison requested to be invoiced and the Bill of Lading be

made out to his attention at GregAbrams Seafood, 234 E Beach Drive, Panama City,

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FL 32401 (Target Location 21). Harrison uses his business relationship with
Abrams Seafood to not only conceal from FDACS that Harrison is processing/drying

shark frns for export at his residence and property (Target Location 20), but also to

conceal from USFWS the actual location   that Harrison stored shark frns. I note that

when Harrison applied for and was rejected for a CITES export permit in 2017, that

application also listed the address for Abrams Seafood (Target Location 21) as the

storage location for the shark fins.

       172. Natalie Wu, in the name of Serendipity, obtained a Fish and Wrldlife
Import/Export License from USFWS. The application for the permit was in violation

of 18 U.S.C. $ 1001. Applicants are required to list where aII places wildlife
inventories and records are being kept; however, the application concealed Target

Location 20 from records and inventory address requirement. Instead, the

application listed the address for Abrams Seafood at Target Location 21.

       173. Serendipity used the import/export    Iicense to obtain a CITES export

permit in the name of Serendipity for the same shark frns for which Harrison was

denied a permit. Terry Wu created a commercial invoice from Serendipity to Shun

Fat and used the address of Target Location      3.   The CITES export permit was

granted and the shark frns were exported to Shun Fat.

       174. Phillips Seafood is another shark fin dealer identified in Mark
Harrison's CITES Export Permit Application. Phillips Seafood is located at Target

Location 22 and. owned by Charles Phillips. USFWS investigators also reviewed

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financial records for connections between Phillips Seafood and Serendipity. A review

of financial records showed that Phillips received four checks totaling over $24,000

directly from Serendipity's business account for the purchase ofshark frns. Phillips

Seafood   with an address of Target Location 22, rcceived a check from Serendipity

Business Solution's JP Morgan Chase bank account, ending in 5225, on September

13, 2016, in the amount of $6,676. The address associated with this Serendipity

bank account is currently Target Location 2, but at the time referenced the address

associated with this Serendipity bank account was Target Location 1.

      175. On February 2, 2018, a UC engaged in a recorded                 telephone

conversation with Charlie Phillips about selling shark frns to Phillips. The UC told

Phillips the UC lost his buyer for shark frns and needed to find someone to buy about

$40,000 worth of frns.

      176. On February 5, 2018, Mr. Phillips sent the UC a text message that
stated: "I have a guy named Eddie that will call you. He works for a company in

Canada and I sell them stuff." The same day, Eddie Li called the UC from telephone

number left a voice message. In the voice message, Eddie LI identifred himself and

stated that he was from Starboard Seafood      in Toronto, Canada, and stated that
Charlie PhilIips asked Eddie to call the UC to discuss dried shark frns that were for

sale. Li said that he purchased fish from Phillips.

      177. On February 9, 2018, Li told the UC during      a telephone conversation

that Li showed the photos to a couple of shark fin importers who liked the photos.

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Li, therefore, asked for a sample of the frns that consisted of multiple      species of

sharks and an example of shark fins in a set of four so they could be inspected for

dryness, quality and the cuts.   Li stated that once the importers inspected the fins,

UC and Li could start conducting business. The UC asked Li what species ofsharks

the importers wanted to inspect. Li replied, "Ah blacktip is frne, hammerhead is

fine. The more interesting is the set of four (a)." The UC asked Li how Li wanted to

ship the frns. Li told UC to deliver the frns to Charlie Phillips (Target Location 22)

to be put on a truck and marked as "frsh sample" to distinguish the fins from the

amberjack and snapper       that Mr. Phillips was already exporting to Li. Li
recommended trucking the fins with Mr. Phillips (Target Location 22) to save money.

Li said, "I'lI talk to Charlie and he will know how to do it, I think." Li instructed the

UC to place the frns in plastic bags, mark them as samples, and identify the species.

Li said he sent a truck to Phillips Seafood (Target Location 22) every Friday because

Phillips Seafood provided Li with seafood products. UC asked Li if there was any

paperwork the UC needed to send with the shark frns that is required in Canada. Li

replied: "No not really because we don't, we don't declare there. We just put clams,

or frsh [pause] just put down with the bag [pause] they're sample. That's all, don't

have to do nothing." This direction by      Li is an example of false labeling and a
violation of CITES.

       178.   On March 28,2018, Li called UC and ordered approximately 50 pounds

of blacktip and hammerhead shark      fins. Li told UC to label the   boxes as blacktip

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and lemon shark. This direction is an example of Li directing UC to falsely label the

shipment to avoid CITES requirements. Li told UC that he was going to email UC

later listing people he dealt with when buying shark frns. Li said he would send the

company names and telephone numbers, but he did not want UC               to mention
Starboard Seafood when discussing buying shark frns. Li then sent an email to UC

Iisting the following companies: Griffen Seafood, Bryant Products, Safe Harbor,

Seafood   Atlantic, King Seafood, Safe Harbor. It should be noted that the companies

noted in the email have been suspected of being involved     in the shark fin trade to

support the Wu TCO.

       179.   On March 29, 2OL8, UC delivered approximately 50 pounds of blacktip

and hammerhead shark frns to Phillips Seafood (Target Location 22) for export to

Starboard Seafood in Toronto, Canada. The boxes were falsely labeled, in accordance

with Li's direction, to contain only blacktip shark frns.

       180.   On March 31, 2018, UC emailed Li informing him of the actual list of

shark fins shipped. UC stated: "Hi Eddie, This is what      I shipped: 1. Jumbo Great
Hammerhead 24.3lbs. Wrote Jumbo on sets.         2. Jumbo Lemon 4.6lbs.   3. Scalloped

Hammerhead 5.8lbs. Just wrote #1 on sets. 4. #1 Blacktip 10lbs.        5. #2 Blacktip
6.5lbs. Li responded to the email and said thanks.

       181.   On   April 26,2018, UC spoke to Li. LirequestedUC prepare   a shipment

of lemon, bull and hammerhead dried shark       fins. Li asked UC to number   each bag,

each box and send an email of the actual contents by box and      bag. UC confirmed
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species would be bagged separately         to avoid any confusion. Li instructed UC to

itemize aII ofthe shark fins on the invoice as blacktip shark. Toward the end ofthe

conversation, Li told UC to label the contents ofthe boxes as blacktip or lemon shark

to look legal.

       182.      On   April 28,2078, UC sent Li an invoice # 2018-033 via fax to   416-7 52-

9129 in the amount of $3,323.10, which falsified the species of dried shark frn as

directed by Li to be exported through Phillips Seafood (Target Location 22).

       183.      On May 10, 2018, Li called UC and said he wanted 50 pounds each of

lemon, tiger and hammerhead shark available to ship later in the week.              Li   also

wanted white (great white) shark frns if they could be located. Li said the fins were

going to a very important guy. Li told UC to label the bags inside the boxes as bag

# 1, bag # 2 etc. not by species. Li instructed UC to label all of the dried shark fins

on the invoice as blacktip sharks & lemon sharks. UC confirmed the availability of

the shark frns for each species and added he OC) did not have any great white shark

frns at the time. Li said lemon, tiger and hammerhead were fine for now.

       184. On May 11, 2018, UC faxed Li invoice # 2Ol8-028 for the shipment
prepared to be exported at fax # 416-7 52-9729. As directed by Li, the invoice faxed

contained a mislabeled itemization of the species of sharks in the actual shipment.

Total invoiced amount for payment was $6,444.40.

       185.      On May 12,2078, UC sent an email to Li, which itemized fins actually

exported to Canada. In the email, UC told Li lemon shark frns, tiger shark fins and

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hammerhead shark fins were shipped and how each species was packaged. Li

responded and said thanks.

        186. On June 14, 2078, UC sent an email to Li, which included                 an

itemization and photographs of dried shark fins ready for export to Canada. The

following dried shark fins were prepared to ship: Jumbo Sandbar Shark 28.8 lbs.,

Jumbo BuII shark 13.6 lbs., #   l   BulI shark 7.1 lbs., #1 Scalloped hammerhead 25.9

lbs., # 1 Blacktip 79.21bs., # 2 Blacktip 26.7 lbs. Later in the day, UC received a text

message from    Li at approximately 9:43 PM EST. In the text       message,   Li   wrote,

"Please send all those dried Shark frn tomorrow to Philip [sic] thanks."

        187.   On June 15, 2018, UC prepared the shipping labels for eight (8) boxes

of dried shark frns to be exported to Canada. As previously directed by Li, the

shipping Iabels were prepared in a way to mislabel the species of dried shark frns

contained in the shipment.

        188. On June 15, 2018, UC prepared Invoice # 2018-036 to fax to Li.          The

invoice totaled $6,591. As previously directed by      Li, UC falsifred the invoice    to

conceal the identification hammerhead shark frns and those fins from sharks not

normally encountered by Canadian Customs. UC faxed the invoice to Li at        416-7 52-

9129.

        189. Between June 15, 2018 and September 9, 2018, I am aware of
approximately six shipments of dried shark frns delivered by UC to Phillips Seafood

(Target Location 22) in Townsend, Georgra and picked up by Starboard Seafood in

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foreign commerce.       Li   confrrmed receipt of each shipment,    all of which were in
violation of 18 U.S.C. S 55a (a) and $ 18 U.S.C. 2 because the shipments were

mislabeled at Li's direction.

          190.   On September 18, 2018, Li sent UC an email which read in part, "Good

day, just meeting with customer          talk about the frozen blue shark fin    discussion

detail as follow: 1/ The markets for the DRIED BLUE SHARK FIN SET OF FOR

[SIC] US62.00|KILO       2l   The blue shark frns are not much frns after processing then

dried.    3/ They import from South America few Countries        now. 4 / THE FROZEN

THE PRICE US$20.00/KILO, they buying too. 5/ Let me know what you can seII

at?? Thanks."

          191.   On September 20,2018, Li sent UC an email which read in part, "Good

day, just frnished meeting      with   3 customers today: following results: 1/ Need 1/2-1

moon cuts. 2/ Need set of 4. 3/ need 14 inches up. 5/ US$18.00/kilo.        If   above term

agr:ee,   will try 500 kilos. After if they like will buy the balance you have. Let       me

know."

          792.   On October 23, 2018, UC sent      Li an email and informed him 500kg of

frozen blue shark frns were being prepared to ship Friday (October 26,2018). UC

told Li to inform the buyer to be ready to receive the frns. Li responded by email and

acknowledged the details for the frozen blue shark frns.

          193. On October 24, 2018, UC sent Li an email and         asked what company

name needed to be on the shipping label to receive the blue shark.           Li replied   by

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email and wrote, "Good morning, still starboard seafood, same label, don't need put

frozen shark frn., just do same as before is ok."

       194. During the course of this investigation Li, Starboard      Seafood, and

Charlie Phillips through communications with UC, aII acknowledge there were no

CITES permits authorizing the exportation ofthe aforementioned species of wildlife

from the United States to Canada.

       195.   Based on this entire investigation and my training and experience, I

believe the Wu TCO uses Target Locations 21. ard 22 in furtherance of its unlawful

wildlife traffrcking business.

                  TCO Recordkeeping and Business Practices


       196.   Based upon my training and experience, my participation in other drug

traffi.cking and money Iaundering investigations, and this entire investigation that

has spanned five years throughout the United States, Canada, Mexico, and Hong

Kong, I know that members of TCOs engaged in wire fraud, mail fraud, international

wildlife traffrcking, and money Iaundering very often place their assets in names

other than their own to avoid detection ofthese assets by government agencres;


         a.   even though these assets are in other persons names, the drug dealers,

money launderers, wildlife traffickers, and fraudsters continue to use these assets

and exercise dominion and control over them;



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            b. narcotics traffrckers and money launderers usually maintain         large

amounts of US Currency in order to maintain and finance their ongoing narcotics

business;


            c. drug   traffrckers, wildlife traffrckers and money launderers, often

maintain books, records, receipts, notes, ledgers, airline tickets, rental agreements,

money orders, and other papers relative to the transportation, manufacturing,

ordering, sale and distribution of controlled substances, and like records related to

wildlife trafficking, and money laundering;

            d. drug traffrckers,   and wildlife trafEckers, commonly "Front" furovide on

consignment) controlled substances and wildlife to their clients and keep written

records of these transactions, additionally money launders keep written records of

transactions;


            e. the aforementioned books, records, receipts, notes, ledgers, etc., are
usually maintained where the traffrckers and money launderers, have ready access

to them;


            f. it is common for traffrckers / dealers to secrete contraband, controlled
substances, including marijuana, and even wildlife, proceeds         of drug sales and
wildlife sales, and records of drug transactions, wildlife traffrcking, and      money

Iaundering, in secure locations within their residence, businesses, or property for

ready access to conceal from law enforcement authorities;
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            g.   persons involved in large-scale drug trafficking, wildlife traffrcking and

money laundering conspiracies, often conceal in their residence controlled substances

and records of frnancial transactions relating to manufacturing, obtaining,
transferring, secreting, and/or spending oflarge sums of money made from engaging

in narcotics traffrcking activities, and/or wildlife trafficking, and other items ofvalue

and/or proceeds of drug transactions, wildlife trafficking and money Iaundering;


            h. when drug traffickers, wildlife traffrckers,   and fraudsters, amass large

amounts of proceeds from the sale of drugs, they often attempt to Iegitimize or

"Launder" these profrts, and to accomplish these goals, drug traffrckers and wildlife

traffrckers, utilize, including but not limited to, foreign and domestic banks and their

attendant services, securities, cashier's checks, money drafts, letters of credit,

brokerage houses, real estate, shell corporations, safety deposit boxes, and business

fronts;


            i.   drug traffrckers, wildlife traffickers, and money launderers, commonly

maintain address or telephone books or books or papers which reflect names, address,

and./or telephone numbers for     their associates in the organization;

            j. drug traffrckers, wildlife     traffrckers, and money launderers, take

photographs and videos of themselves, their associates, their property, and/or their

product and usually keep these photographs in their possession;



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           k.   the courts have recognized that unexplained wealth can be probative

evidence   of crime motivated by greed, in particular, trafficking in controlled
substances, wildlife trafficking and criminal activity in general;


           I.   drug traffickers, wildlife traffrckers, fraudsters, and money launderers

maintain computers at their residences and businesses which are utilized to maintain

addresses, telephone numbers, records of manufacture, distribution, of transactions,

documents and records reflecting names of co-conspirators and clients; and


           m. drug traffickers keep firearms and other weapons to protect           and

facilitate their drug operation, further those tied to organized crime, Mexican and

Asian, often possess weapons to protect and facilitate the criminal activity;


           n. Members of a long-running transnational criminal               conspiracy

organization, such as the Wu TCO, routinely store their records, finances, and drug

related items as described above in their residences, "stash" houses, business, and

warehouses;


           o. Members who manufacture and distribute marijuana often maintain
warehouses to grow marijuana, and trap houses to store marijuana, as this particular

investigation has verifred. These warehouses and trap houses utilize tools, including

scales, money counters, paraphernalia, packaging materials, lights, seeds, water

systems, heat lamps, cellphones, computers, weapons, heat sealers, and money

wrappers. Further, those engaged in money laundering conspiracy, as evidenced in
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this particular case, often possess large quantities ofcash, and need to store the cash,

package the cash, and count the cash.


          p. Members of large scale drug conspiracies, money laundering
conspiracies, and seafood traffrcking conspiracies often use equipment to defeat law

enforcement investigative techniques, including surveillance equipment, cameras,

recording devices, police scanners, radio frequency detectors, and counter-

surverllance equipment;


          q.   Members of conspiracies, including cartels and Asian organized crime,

often maintain notebooks, notes, and paper documents regarding                members,

conversations   with members, and transactions, identifuing materials, including
branding mechanisms, flags, books, photographs and videos;


          r.   Members ofconspiracies ofthe nature described in the affrdavit, possess

large quantities of money, foreign currency, precious metals, jewelry, and frnancial

instruments, including stocks and bonds, cashiers checks, money orders, wire

transfers, to facilitate the criminal activity;


          s.   Businesses and homes utilized by conspirators often have documents

and items that indicate an indicia of occupancy, residency and/or ownership of the

premises, including    utility bills, western union receipts, safety deposit box keys,
correspondence,    bank statements, photos, videos, contracts, and personal and

business documents;
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           t.   Those engaged    in drug traffrcking and wildlife traffrcking, often
maintain records regarding the location ofstorage houses and locations, stash houses,

customers, sources, drugs, wildlife, maritime maps, transportation routes;


           u.   Those engaged in conspiracies of this nature often maintain at homes,

businesses, and stash locations, receipts for items evidencing the expenditure offunds

to promote the activity and/or evidencing the expenditure of proceeds from the

criminal activity, including the receipts for the purchase of property, real or
otherwise, the leasing of property, real and otherwise;


          v.    Those engaged in organized criminal activity ofthe nature described   in

the affrdavit often maintain papers related to items used to commit the activity, to

conceal   the activity,   and-/or items procured   via the activity, including   vehicle

registration documents, documents related to the ownership or leasing of property,

rental vehicles, bank statements, cancelled checks, deposit slips, bank drafts,
withdrawal records, safe deposit information and key(s), money orders, cashiers

checks, check stubs, Ietters     of credit, wire transfer records, bank statements,
passbooks, stock books, certificates of deposit, Iedgers, corporate papers, contracts,

business licenses, frnancial investment information, frnancial registration

information, stocks, bonds, Ietterhead, stationary, business cards, profrt/loss

statements, books and records of corporations, partnerships @oth domestic and

foreign), records reflecting the true or benefrcial owner of a business, balance sheets,


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accounting paperwork, deeds, tax records, payment journals, notes, accounts payable,

employee ledgers, handwritten notes, computer generated documents, computer

records related to transactions, emails, internet searches, and other documents,

whether paper. or electronic;


         w.          In conspiracies of this nature, members often maintain internal

and external correspondence or communications, including notes of conversations,

telephone Iogs and journals, and any other record, electronic or otherwise, evidencing

contracts, financial or payment transactions, relations with clients and potential

clients, customers and/or associates, and the nature ofthe business activities engaged

by the names and businesses listed in the affidavit and its associates;


          x.   Because this conspiracy involves wildlife trafficking, in my experience,

those engaged in wildlife traffrcking often maintain records concerning the possession

of wildlife, the storage of wildlife, including the landing of sharks, shark fins,

documents related     to state, federal laws and international treaties,       including

correspondence    with government agencies, and people within the conspiracy, known

and unknown, including frshermen, middlemen, suppliers, harvesters, transporters,

and companies that sell and purchase shark fins and wildlife;


          y.   In my experience, those engaged in wildlife traffrcking, often possess the

wildlife, including shark fins, traffrcking equipment, traffrcking materials, GIobaI

Positioning Units (GPS) and data related to locations, maps, journals and other
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documents including routes waypoints, Iocations of harvest, collection, purchase,

and/or sale of wildlife, bills of lading, shipping invoices, and regulatory documents;


          z.   Members of this conspiracy spread throughout the United States and

internationally. In my experience, conspirators often maintain travel receipts,

tickets, passports, and other travel related documents and./or records relating to

identifrcation of individuals, for example: visas, passports, resident alien cards


          aa. In my experience, due to the digital   age, criminal organizations   ofthis

nature often use computers and other electronic devices to share information, to

communicate, and     to store documents related to shell companies, and criminal
activity, including the documents and records outlined herein.

                               TECHNICAL TERMS

       197.    Based on my training and experience,      I   use the following technical

terms to convey the following meanings:


               a.   IP   Address: The Internet Protocol address (or simply "IP

address") is a unique numeric address used by computers on the         Internet. An IP

address looks like a series of four numbers, each in the range 0-255, separated by

periods (e.S., 121.56.97.178). Every computer attached to the Internet must be

assigned an    IP address so that Internet traffrc sent from and directed to that
computer may be directed properly from its source to its destination. Most Internet


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service providers control a range of IP addresses. Some computers have   static-that
is, long-term IP     addresses,   while other computers have dynamic-that         is,

frequently changed-IP addresses.


             b.     Internet: The Internet is a global network of computers and other

electronic devices that communicate with each other. Due to the structure of the

Internet, connections between devices on the Internet often cross state and

international borders, even when the devices communicating with each other are in

the same state.


             c.     Storage medium: A storage medium is any physical object upon

which computer data can be recorded. Examples include hard disks, RAM, floppy

disks, flash memory, CD-ROMs, and other magnetic or optical media.


   COMPUTERS. ELECTROMC STORAGE. AND FORENSIC ANALYSIS

       198. As described above and in Attachment B, this application           seeks

permission to search for records that might be found on the premises, in whatever

form they are found. One form in which the records might be found is data stored

on a computer's hard drive or other storage media. Thus, the warrant appiied for

would authorize the seizure of electronic storage media or, potentially, the copying

 of electronically stored information, aII under RuIe a1(e)(2)(B).




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       199.   Probable cause. I submit that       ifa computer or storage medium   is found

on the premises, there is probable cause to believe those records wiII be stored on

that computer or storage medium, for at least the following reasons:

              a.    Based on my knowledge, training, and experience,        I   know that

computer files or remnants of such files can be recovered months or even years after

they have been downloaded onto a storage medium, deleted, or viewed via the

Internet. Electronic frles downloaded to a storage medium can be stored for years at

little or no cost. Even when frles have been deleted, they    can be recovered months or

years Iater using forensic tools. This is so because when a person "deletes" a file on

a computer, the data contained in the frle does not actually disappear; rather, that

data remains on the storage medium until it is overwritten by new data.


              b.    Therefore, deleted files, or remnants of deleted fiIes, may reside

in free space or slack space-that is, in       space on the storage medium      that is not

currently being used by an active frle-for long periods of time before they are

overwritten. In addition, a computer's operating system may also keep a record of

deleted data in a "swap" or "recovery" file.


              c.    WhoIIy apart from user-generated frles, computer               storage

media-in particular, computers' internal hard drives----contain electronic evidence of

how a computer has been used, what      it   has been used for, and who has used     it.   To

grve a few examples, this forensic evidence can take the form of operating system

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conflgurations, artifacts from operating system or application operation, frle system

data structures, and virtual memory "swap" or paging files. Computer users typically

do not erase or delete this evidence, because special software is typically required for

that task. However, it is technically possible to delete this information.

               d.      Similarly, frles that have been vrewed via the Internet are

sometimes automatically downloaded into a temporary Internet directory or "cache."


               e.      Based on actual inspection   of other evidence related to this
investigation, such as financial records, business records, invoices, CITES

applications, biIIs of Iading, list of wildlife suppliers and purchasers, mailing records,

email communications, and text messages, I am aware that computer equipment was

used to generate, store, and    print documents used by this organization to commit the

Target Offenses. There is reason to believe that there is   a   computer system currently

located on the premises of all the Target Locations.


       200. Forensic euidence. As further described in Attachment B, this
application seeks permission to locate not only computer frles that might serve as

 direct evidence ofthe crimes described on the warrant, but also for forensic electronic

evidence that establishes how computers were used, the purpose of their use, who

 used them, and when. There is probable cause to believe        that this forensic electronic

 evidence   will   be on any storage medium in the premises because:




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              a.    Data on the storage medium can provide evidence of a frle that

was once on the storage medium but has since been deleted or edited, or ofa deleted

portion of a file (such as a paragraph that has been deleted from a word processing

file). Virtual memory paging systems can leave traces of information on the storage

medium that show what tasks and processes were recently active. Web browsers,       e-

mail programs, and chat programs store configuration information on the storage

medium that can reveal information such as online nicknames and passwords.

Operating systems can record additional information, such as the attachment of

peripherals, the attachment of USB flash storage devices or other external storage

media, and the times the computer was       in   use. Computer frle systems can record

information about the dates frles were created and the sequence in which they were

created, although this information can later be falsif,red.


             b.     As explained herein, information stored within a computer and

other electronic storage media may provide crucial evidence of the "who, what, why,

when, where, and how" of the criminal conduct under investigation, thus enabling

the United States to establish and prove each element or alternatively, to exclude the

innocent from further suspicion. In my training and experience, information stored

within a computer or storage media (e.g., regstry information, communications,
images and movies, transactional information, records           of   session times and

durations, internet history, and anti-virus, spyware, and malware detection

progTams) can indicate who has used or controlled the computer or storage rnedia.
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This "user attribution" evidence is analogous to the search for "indicia of occupancy"

while executing a search warrant at a residence. The existence or absence of anti-

virus, spyware, and malware detection programs may indicate whether the computer

was remotely accessed, thus inculpating or exculpating the computer owner. Further,

computer and storage media activity can indicate how and when the computer or

storage media was accessed or used. For example, as described herein, computers

typically contain information that log: computer user account session times and

durations, computer activity associated with user accounts, electronic storage media

that connected with the computer, and the IP addresses through which the computer

accessed networks   and the internet. Such information allows investigators to

understand the chronological context of computer or electronic storage media access,

use, and events relating   to the crime under investigation. Additionally,         some

information stored within a computer or electronic storage media may provide crucial

evidence relating to the physical location of other evidence and the suspect. For

example, images stored on a computer may both show a particular location and have

geolocation information incorporated into its frle   data. Such fiIe data typically also

contains information indicating when the frle or image was created. The existence of

such image fiIes, along with external device connection logs, may also indicate the

presence of additional electronic storage media (e.g., a digital camera or cellular

phone   with an incorporated camera). The geographic and timeline information
described herein may either inculpate      or exculpate the computer       user.   Last,


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information stored within a computer may provide relevant insight into the computer

user's state of mind as      it   relates to the offense under investigation. For example,

information within the computer may indicate the owner's motive and intent to

commit   a crime      (e.g., internet searches indicating criminal planning), or

consciousness of    guilt (e.9., running a "wiping" program to destroy evidence on the

computer or password protecting/encrypting such evidence in an effort to conceal            it
from law enforcement).

               c.     A person with appropriate familiarity with how a computer works

can, after examining this forensic evidence in its proper context, draw conclusions

about how computers were used, the purpose oftheir use, who used them, and when.


               d.     The process of identifuing the exact frles, blocks, registry entries,

logs, or other forms of forensic evidence on a storage medium that are necessary to

draw an accurate conclusion is a dynamic process. While          it is possible to specifi, in
advance the records to be sought, computer evidence is not always data that can be

merely reviewed by a review team and passed along to investigators. Whether data

stored on a computer is evidence may depend on other information stored on the

computer and the application of knowledge about how                 a   computer behaves.

Therefore, contextual information necessary to understand other evidence also falls

within the   scope of the   warrant.




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             e.     Further, in frnding evidence of how a computer was used, the

purpose ofits use, who used it, and when, sometimes it is necessary to establish that

a particular thing is not present on a storage medium. For example, the presence or

absence of counter-forensic programs or anti-virus programs (and associated data)

may be relevant to establishing the user's intent.


                    I know that when an individual uses a cell phone or computer to

facilitate the Target Offenses, the individual's cell phone or computer wiII generally

serve both as an instrumentality for committing the crime, and also as a storage

medium for evidence of the crime. The cell phone or computer is an instrumentality

of the crime because   it is used as a means of committing the criminal offense.   The

cell phone or computer is also likely to be a storage medium for evidence of crime.

From my training and experience, I believe that a cell phone or computer used to

commit a crime of this type may contain: data that is evidence of how the cell phone

or computer was used; data that was sent or received; notes as to how the criminal

conduct was achieved; records of Internet discussions about the crime; and other

records that indicate the nature of the offense.


       207.   Necessity of seizing   or copying entire computers or storage media. In

 most cases, a thorough search of a premises for information that might be stored on

 storage media often requires the seizure ofthe physical storage media and Iater off-

 site review consistent with the warrant. In lieu of removing storage media from the


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premises,   it is sometimes     possible   to make an image copy of storage media.
Generally speaking, imaging is the taking of a complete electronic picture of the

computer's data, including all hidden sectors and deleted          fiIes. Either   seizure or

imaging is often necessary to ensure the accuracy and completeness of data recorded

on the storage media, and to prevent the loss of the data either from accidental or

intentional destruction. This is true because of the following:

                    The time required for an examination. As noted above, not all

evidence takes the form of documents and frles that can be easily viewed on site.

Analyzing evidence ofhow a computer has been used, what it has been used for, and

who has used   it requires   considerable time, and taking that much time on premises

could be unreasonable. As explained above, because the warrant calls for forensic

electronic evidence,   it is exceedingly   Likely that   it will be necessary to thoroughly
examine storage media to obtain evidence. Storage media can store a large volume

of information. Reviewing that information for things described in the warrant can

take weeks or months, depending on the volume of data stored, and would be

impractical and invasive to attempt on-site.

             b.     Technical requirements. Computers can be confrgured in several

different ways, featuring a variety of different operating systems, application

software, and confrgurations. Therefore, searching them sometimes requires tools or

knowledge that might not be present on the search site. The vast array of computer


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hardware and software available makes it diffrcult to know before a search what tools

or knowledge wiII be required to analyze the system and its data on the Premises.

However, taking the storage media off-site and reviewing         it in a controlled
environment will allow its examination with the proper tools and knowledge.


              c.     Variety of forms of electronic media. Records sought under this

warrant could be stored in a variety of storage media formats that may require off-

site reviewing with specialized forensic tools.


       202. Nature of examination        Based on the foregoing, and consistent with

Rule a1(e)(2)(B), the warrant    I am applyrng for would permit seizing, imagrng, or
otherwise copying storage media that reasonably appear to contain some or all ofthe

evidence described in the warrant, and would authorize a later review ofthe media

or information consistent with the warrant. The later review may              require

techniques, including     but not limited to computer-assisted scans of the entire
medium, that might expose many parts of a hard drive to human inspection in order

to determine whether it is evidence described by the warrant. Attachment B further

outlines the Search Procedure and I incorporate Attachment B as if fully set forth

herein.


          203.   Because several people share the premises as a residence, such as

 Target Location 1, Target Location 4, Target Location 5, Target Location 6, Target

 Location 10, Target Location 12, Target Location 16, Target Location 17, Target
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Location 18, and Target Location 19,    it   is possible that the premises wiII contain

storage media that are predominantly used, and perhaps owned, by persons who are

not suspected ofa crime. If it is nonetheless determined that that it is possible that

the things described in this warrant could be found on any of those computers or

storage media, the warrant applied for would permit the seizure and review ofthose

items as well.


      204. Serendipity    Business Solutions, LLC at Target Location 2, TD Christy

Allstate Insurance Agency, LLC at Target Location 3, QBC International, Inc. at

Target Location 11, Jeans Jewelry, Inc. at Target Location 13, Ohansons, LLC at

Target Locations 14 and 15, Phoenix Fisheries at Target Location 19, Serendipity

Business Solutions, LLC at Target Location 20, Greg Abrams Seafood at Target

Location 21, and Phillips Seafood at Target Location 22 ("the companies") are

functioning companies that conduct some legitimate business. The seizure of the

companies' computers may    limit the companies' ability to conduct their legitimate

business. As with any search warrant,    I    expect that this warrant   will be executed

reasonably. Reasonable execution will likely involve conducting an investrgation on

the scene ofwhat computers, or storage media, must be seized or copied, and what

computers or storage media need not be seized or copied. Where appropriate, offrcers

will copy data, rather than physically       seize computers,   to reduce the extent of

d.isruption. If employees ofthe companies so request, the agents will, to the extent

practicable, attempt to provide the employees with copies of data that may be
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necessary     or important to the continuing function of the companies' Iegitimate

business. If, after inspecting the computers,           it is determined that   some or all   ofthis

equipment       is no longer       necessary     to retrieve and preserve the evidence,         the

government wiII return it.


                                             FORFEITURE

         205. This application requests the issuance of a warrant pursuant                          to

multiple authorities for seizure of property subject to forfeiture. Seizure is

appropriate under 21 U.S.C.           SS    853(0 and 881 because: (1) there is probable cause

to believe that the property to be seized would, in the event of conviction, be subject

to forfeiture, and (2) an order under 21 U.S.C. $ 853(e) may not be suffrcient to assure

the availability of the property for forfeiture. There is further authority to seize

under 18 U.S.C.       S   981@) and 28 U.S.C. S 1355(d) because there is probable cause to

believe that the property is forfeitable under civil law, to wit, 16 U.S.C. $ 1860 and

18 U.S.C.     SS   e81(a)(1), 982, e83, and 984.

         206.      There is probable cause to believe that the property to be seized would,

in the event of conviction, be subject to forfeiture, because the property is:
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           a. involved in a transaction or attempted transaction in violation
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U.S.C.   SS   1956, 1957 and 1960, or any property traceable to such property,

violation of 18 U.S.C.      S   982(aX1);




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           b.   proceeds,     or is derived from      proceeds, that   the defendant    obtained

directly or indirectly, as the result of a violation of 18 U.S.C.      SS   1341 and 1343, aII   in

violation of 18 U.S.C.    S   982(a)(2)(A);

           c. a vessel, vehicle, aircraft, and other           equipment used to aid      in   the

importing, exporting, transporting, selling, receiving, acquiring, or purchasing offrsh

or wildlife or plants in a felony violation of Chapter 53 of the United States Code, all

in violation of 16 U.S.C.     S   3374;

           d.
                   i. a controlled            substance   which has been         manufactured,

distributed, dispensed, or acquired in violation of Subchapter I of Chapter 13 of the

United States Code,

                  ii.    a raw material, product, and equipment of any kind which is

used, or intended for use,         in manufacturing,      compounding, processing, delivering,

importing, or exporting any controlled substance or listed chemical in violation of

Subchapter I of Chapter 13 of the United States Code,

                  iii.   property which is used, or intended for use, as a container for

property described in paragraph (i), (ii), or (ix),

                  iv.    a conveyance, including an aircraft, vehicle, or vessel, which is

used, or   is intended for use, to transport, or in any manner to facilitate                   the

transportation, sale, receipt, possession, or concealment of property described in

paragraph (i), (ii), or (ix),


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                v.    a book, record, and research, including a formula, microfrlm,

tape, and data which is used, or intended for use, in violation of Subchapter        I   of

Chapter 13 of the United States Code,

               vi.    money, negotiable instrument, security, or other thing of value

furnished or intended to be furnished by any person in exchange for a controlled

substance or listed chemical in violation of Subchapter   I of Chapter   13 of the United

States Code, all proceeds traceable to such an exchange, and money, negotiable

instrument, and security used or intended to be used to facilitate any violation of

Subchapter I of Chapter 13 of the United States Code,

               vii.   real property, including a right, title, and interest (including a

Ieasehold interest) in the whole of any lot or tract of land and any appurtenances or

improvements, which is used, or intended to be used,       in any manner or part,        to

commit, or to facilitate the commission of, a violation of Subchapter I of Chapter 13

of the United States Code punishable by more than one year's imprisonment,

              viii.   a controlled substance which have been possessed in violation      of

Subchapter I of Chapter 13 of the United States Code,

               lX     a   listed chemical, drug manufacturing equipment, a tableting

machine, an encapsulating machine, and a gelatin capsule, which has been imported,

exported, manufactured, possessed, distributed, dispensed, acquired, or intended to

be distributed, dispensed, acquired, imported, or exported, in violation of Subchapter

I or II of Chapter 13 of the United States   Code,

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                   x.    drus paraphernalia (as defrned in 18 U.S.C.   S   863), and

                xi.      a frrearm (as defined in 18 U.S.C. $ 921) used or intended to be

used to facilitate the transportation, sale, receipt, possession, or concealment of

property described in paragraph (i) or (ii) and proceeds traceable to such property,

all in violation of 21 U.S.C.   $ 881(a).

       207. There is also probable cause to believe that the property to be seized
would be subject to civil forfeiture because the property is:

              a.        a fishing vessel, or a part thereof, (including its fishing      gear,

furniture, appurtenances, stores, and cargo) used, and any fish (or the fair market

value thereof) taken or retained, in any manner, in connection with or as a result of

the commission of any act prohibited by 16 U.S.C $$ 1857 and 1861(c), all in violation

of 16 U.S.C $ 1860;

             b.         involved in a transaction or attempted transaction in violation of

18 U.S.C. S$ 1956, 1957 and 1960, and property traceable to such property, all in

violation of 18 U.S.C. $ 981(a)(1)(A); and

             c.         property, real or personal, which constitutes or         is    derived

from proceeds traceable to dealing in a controlled substance or listed chemical, and

to a violation of 18 U.S.C.       SS 1341   and 1343, all in violation of 18 U.S.C.         S$


e81(a)(1)(C), 1956(c)(7)(A), and 1961(1).

        208. I am aware that pervasive criminal       wrongdoing by a business obviates

the need for tracing in forfeiture actions. That is, when a business is "used as             a


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vehicle to commit fraud" and "that fraud touched everything," all "items connected

to [the business's] revenue stream are subject to forfeiture." United States u. Smith,

749 F.3d 465, 488-89 (6th Cir. 2014); see also United States u. Lang, No. 1:12-CR-

tO4,2Ol5 WL 4207109, at *2 (E.D. Tenn. JuIy 10, 2015) (frnding that when "vast

majority" of business's proceeds comes from illegal activity, government can forfeit

"entirety" of the proceeds even     if the business was not "a wholly illegitimate
enterprise") (emphasis added).   In United   States u. Warshak,631 F.3d 266 (6th Cir.

2010), the Sixth Circuit held      that "the entirety" of a company's revenue was

forfeitable, "including money generated through supposedly Iegitimate
transactions," because even legitimate sales "resulted 'directly or indirectly'from     a


conspiracy to commit   frard." Id. at 332; see also United States u. Torres, 703 F.3d

194, 199 (2d Cir. 2012) ("so long as there is a causal nexus between the wrongdoer's

possession of the property and her crime, the property may be said to have been

'obtained' by her 'indirectly' as a result of her offense .    . . the forfeiture statute
envisions and tolerates some attenuation of the chain of events between the crime

and the related property or gain   it makes subject to forfeiture.").

                                   CONCLUSION
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       209. I submit that this af6davit supports probable cause for a warrant
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search the premises described in Attachment A-20 and seize the items described

Attachment B.


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                            RESUEST FOR SEALING

        27O. It is respectfully requested that this Court issue an order sealing, until

further order of the Court, all papers submitted in support of this application,

including the application and search warrant. I believe that sealing this document

is necessary because the items and information to be seized are relevant to an

ongoing investigation into the criminal organizations as not aII ofthe targets ofthis

investigation will be searched at this time. Based upon my training and experience,

I   have learned that online criminals actively search for criminal affrdavits and

search warrants via the Internet, and disseminate them to other online criminals as

they deem appropriate, i.e., post them publicly online through the carding forums.

Premature disclosure of the contents of this affidavit and related documents may

have a significant and negative impact on the continuing investigation and may

severely jeopardize its effectiveness.




Sworn to and subscribed before me    this   l4iday   of August, 2020.




Honorable Michael J. Frank
United States Magistrate Judge
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